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    9                      UNITED STATES DISTRICT COURT
   10                    SOUTHERN DISTRICT OF CALIFORNIA
   11 CHARTER TOWNSHIP OF CLINTON )             Case No. 3:16-cv-00685-BTM-BGS
      POLICE AND FIRE RETIREMENT )
   12 SYSTEM, Individually and on Behalf of )   CLASS ACTION
      All Others Similarly Situated,        )
   13                                       )   CONSOLIDATED FIRST AMENDED
                                Plaintiff,  )   COMPLAINT FOR VIOLATION OF
   14                                       )   THE FEDERAL SECURITIES LAWS
            vs.                             )
   15                                       )
      LPL FINANCIAL HOLDINGS INC., et )
   16 al.,                                  )
                                            )
   17                           Defendants. )   DEMAND FOR JURY TRIAL
                                            )
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            1        Lead Plaintiff, Soft Drink and Brewery Workers Union Local 812 Retirement
            2 Fund (“Plaintiff”), individually and on behalf of all others similarly situated, by
            3 Plaintiff’s undersigned attorneys, alleges the following based upon personal
            4 knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as
            5 to all other matters based on the investigation conducted by and through Plaintiff’s
            6 attorneys, which included, among other things, a review of U.S. Securities and
            7 Exchange Commission (“SEC”) filings by LPL Financial Holdings Inc. (“LPL” or the
            8 “Company”), as well as media and analyst reports about the Company and Company
            9 press releases. Plaintiff believes that substantial additional evidentiary support will
       10 exist for the allegations set forth herein after a reasonable opportunity for discovery.
       11                                 NATURE OF THE ACTION
       12            1.     This is a securities class action on behalf of all purchasers of LPL
       13 common stock between December 8, 2015 and February 11, 2016, inclusive (the
       14 “Class Period”), against LPL, Chief Executive Officer (“CEO”) and Chairman Mark
       15 S. Casady and Chief Financial Officer (“CFO”) Matthew J. Audette (collectively
       16 “LPL,” the “Company” or the “Defendants”) for violations of the Securities Exchange
       17 Act of 1934 (“1934 Act”). Defendant LPL is an independent broker-dealer, a
       18 custodian for registered investment advisors (“RIAs”) and an independent consultant
       19 to retirement plans. The Company provides a platform of brokerage and investment
       20 advisory services to independent financial advisors enabling them to provide their
       21 retail investors with financial and investment advice. It generates revenues primarily
       22 from fees and commissions on clients’ brokerage and advisory assets, and these
       23 metrics are highly material to LPL’s investors, day-to-day operations, and market
       24 capitalization.
       25            2.     LPL was founded in 1989 and in 2005 sold a majority stake to two
       26 private equity firms, TPG Capital (“TPG”) and Hellman & Friedman LLC (“Hellman
       27 & Friedman”), in a deal valued at approximately $2.5 billion. After it took private
       28 control, TPG elevated Defendant Casady to CEO and Chairman. From 2006-2009, as

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            1 CEO and Chairman, Casady oversaw TPG’s multi-hundred million dollar investment
            2 in LPL, he was subject to TPG’s oversight and he had regular communications with
            3 TPG personnel. During this time LPL was a private company, Casady made over $10
            4 million while under TPG’s control and influence.
            5          3.    In November 2010, TPG and Hellman & Friedman took LPL public for
            6 approximately $470 million (the “IPO”). Casady personally made $58 million in the
            7 IPO. Following the offering, TPG continued to own over 30% of LPL’s common
            8 stock and, after Hellman & Friedman exited LPL stock in 2013, TPG became LPL’s
            9 largest shareholder and maintained control and substantial influence over LPL’s
       10 affairs. TPG appointed two directors to LPL’s Board, Richard Schifter and Richard
       11 Boyce. TPG partner Schifter became LPL’s “Lead Director” and also served on
       12 LPL’s Governance and Nominating Committee – a role that ensured TPG access to
       13 LPL governance information, influence in the selection of Board of Director
       14 candidates, and evaluation of the Board. TPG partner Boyce also served on LPL’s
       15 Compensation Committee, which determined all aspects of Defendants Casady and
       16 Audette’s compensation, including salary, bonus, incentives, deferred compensation,
       17 benefits, and severance.
       18              4.    As stated in LPL’s public filings, TPG retained “significant influence
       19 over corporate transactions,” the ability “to strongly influence or effectively control
       20 LPL’s decisions” and “will continue to be able to influence [LPL’s] decisions
       21 regardless of whether or not the stockholders believe that the transaction is in their
       22 own best interests.”
       23              5.    In exercising such influence and control over LPL, TPG in its
       24 shareholder agreement with LPL also explicitly received “the right to obtain any
       25 reports, documents, information or other materials . . . which a member of the LPL
       26 Board has received or has the right to receive.”1
       27
                1
                    Here, as elsewhere, emphasis has been added.
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            1        6.    To compete in its industry, LPL uses online trading, exchanging and
            2 communicating customer account data instantaneously. Through its advisor-facing
            3 information systems, corporate login-in procedures, online customer reporting
            4 processes,2 and management systems interface(s), LPL’s Board and senior
            5 management has real-time “24/7” access to customer account data that is aggregated
            6 into LPL’s “key metrics,” including “assets under management” (or “AUM”),
            7 “advisory assets,” “brokerage assets,” “alternative investments” (or “Alt. Inv.”),
            8 “advisory revenues,” and “commission revenues.”         LPL’s senior management
            9 accesses these key metrics in real-time for purposes of managing LPL’s day-to-day
       10 operations, supervision duties, and reporting the most recent relevant data to investors
       11 and analysts.
       12            7.    LPL’s stakeholders and managers recognize LPL’s real-time view into its
       13 operations and performance. For example, during a December 8, 2015 conference call
       14 with the investment community, when speaking about “an earnings stream that is
       15 quite steady . . . the last two months have shown that . . . executing it all well,”
       16 Defendant Audette – LPL’s CFO – made repeated references to his real-time view of
       17 LPL over the “last two months” (October and November 2015), indicating access and
       18 review of LPL’s financial performance immediately before the December 8, 2015
       19 conference call. Similarly, LPL analysts knew from their interactions with LPL senior
       20 executives that LPL executives have a “good line of sight” intra-quarter into LPL’s
       21 financial performance, as confirmed by Defendant Casady’s acknowledgment
       22 “certainly we had insight into the [fourth] quarter” in early December 2015.
       23            8.    Likewise, TPG also had the right to receive real-time performance data,
       24 “key metrics” and other information regarding LPL’s business directly from LPL and
       25 its executive officers. Effectively, this meant that by virtue of the fact that TPG
       26 partners Boyce and Schifter served on LPL’s Board of Directors, TPG as an entity had
       27       2
                   For a demonstration of LPL’s online investment account platform, see
                https://www.youtube.com/watch?v=DCarkq9c5d0.
       28

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            1 the right at any time to access contemporaneous inside information regarding LPL’s,
            2 “key metrics,” financial results and prospects – available to LPL insiders, but not
            3 available to other LPL investors. This special access allowed TPG to have real-time
            4 visibility into LPL’s financial performance and have inside information upon which it
            5 could determine whether to trade or hold its LPL shares. TPG maintained its ability to
            6 control and influence LPL’s decisions and its information rights throughout the 2015-
            7 2016 time-period relevant to this action.
            8            9.         When LPL went public in 2010, TPG also ensured that Casady remained
            9 as LPL’s CEO and Chairman while TPG remained in control, providing him with an
       10 employment agreement that lasted until February 2014, in which LPL was required to
       11 take steps to ensure Casady was elected to the board and remained its chairman. TPG
       12 ensured that LPL rewarded Defendant Casady handsomely, and Casady in turn was
       13 beholden to TPG for his corporate position, prestige and wealth. Between 2010 and
       14 2015, while TPG was in firm control of LPL, Defendant Casady received stock
       15 proceeds and compensation valued at over $119 million as LPL’s Chairman and CEO
       16 – positions he owed to TPG’s oversight, influence and control over the Company: 3
       17                                     2015         2014           2013           2012          2011          2010          Totals
                Insider Sales Proceeds    $          0    $        0      $       0    $23,452,413    $ 600,000    $64,467,480   $ 88,519,893
       18                      Salary         900,000         885,479      800,000        800,000       800,000       800,000       4,985,479
                       Option Awards      3,519,400       3,079,998      2,799,991       2,800,000             -     2,677,905     14,877,294
       19       Non-Equity Incentive
                                          1,237,500       1,485,000      2,500,000       1,000,000    2,091,625      2,225,000     10,539,125
                             Comp.
       20
                         Other Comp.           52,475          71,440         48,842       57,553        47,673        39,820        317,803
       21                                $ 5,709,375     $ 5,521,917    $ 6,148,833    $28,109,966   $ 3,539,298   $70,210,205   $119,239,594

       22
       23
       24
          3
              TPG controlled Defendant Casady up through TPG’s eventual reduction of
       25 beneficial ownership of LPL below 5% in 2016. Casady’s importance to TPG
          likewise diminished, as evidenced by Casady’s “early retirement” from LPL
       26 announced at the end of 2016 and effective March 2017. Throughout 2015 and early
          2016, TPG controlled LPL’s determination of whether Casady would depart LPL “for
       27 cause” – resulting in Casady losing unvested compensation – or “retirement” upon
          which Casady would receive valuable immediate vesting of compensation.
       28

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            1           10.     Following the IPO, LPL became the subject of several regulatory and
            2 governmental investigations regarding the Company’s fraudulent, deceptive and/or
            3 legally deficient business practices. In February 2013, LPL paid $2.5 million to settle
            4 allegations by Massachusetts securities regulators that it had failed to adequately
            5 supervise its brokers who sold investments in non-traded real estate investment trusts
            6 (“REITs”). In May 2015, the Financial Industry Regulatory Authority (“FINRA”), the
            7 self-regulatory organization that regulates and oversees brokerage firms, sanctioned
            8 LPL $11.7 million for “widespread supervisory failures” related to complex product
            9 sales, trade surveillance and trade confirmations delivery. In September 2015, LPL
       10 agreed to pay $1.8 million to settle charges by the Massachusetts Attorney General
       11 that it had improperly sold and marketed risky exchange-traded funds to retail
       12 investors. LPL simultaneously agreed to pay $1.4 million in civil penalties to
       13 regulators in 48 states, the District of Columbia, Puerto Rico and the U.S. Virgin
       14 Islands to settle charges that it failed to implement an adequate supervisory system
       15 regarding its sale of non-traded REITs and to enforce its own written procedures
       16 regarding the sale of non-traded REITs.
       17               11.     The repeated regulatory actions caused LPL to be less attractive to LPL’s
       18 more productive advisors, and by October 2015 some of LPL’s large accounts (i.e.,
       19 measured by AUM) were leaving LPL for other firms at an accelerated pace, as the
       20 following data from InvestmentNews.com illustrates:
       21                                 Advisor Firms          Total AUM of            Avg. AUM
                         Year
                                          Leaving LPL          Departing Advisors       per Advisor
       22
                          2013                  9                $1.215 billion         $135 million
       23                 2014                 14                 1.534 billion          110 million
       24           Jan – Nov 20154            20                 3.262 billion          163 million

       25
       26       4
             In the month of October 2015, the total AUM of advisors departing LPL for other
          firms had accelerated to $749 million for a single month, whereas the total AUM of
       27 departing advisors for the previous two months (August and September 2015) was
          only $209 million.
       28

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            1        12.   Soon before the start of the Class Period, in early October 2015, as LPL
            2 faced nagging regulatory problems, Defendant Casady’s future as Chairman and CEO
            3 was “attracting a lot of conjecture” in the investing community, and it was publicly
            4 reported that Defendant Casady’s “glory days were before [LPL] went public during
            5 their growth phase.” Defendant Casady’s continued employment depended on the
            6 approval of LPL’s Board of Directors, which included now TPG Senior Adviser
            7 Schifter and now former TPG Partner Boyce.
            8        13.   Shortly after the settlement of these significant regulatory enforcement
            9 actions, and LPL’s payment of over $15 million in fines, on October 29, 2015, LPL
       10 publicly reassured its investors that it expected to move past its regulatory problems
       11 with “meaningfully lower” charges in the future, and that it would “maximize
       12 shareholder returns” by buying back $500 million worth of its own shares. Defendant
       13 Casady told investors that the share buyback was a “bargain,” because LPL shares
       14 were trading “at a significant discount to what we believe is their intrinsic value.”
       15 Defendants later stressed that the message sent to the market was that the buyback was
       16 the “key” as to how LPL would “turn the page” on its recent regulatory problems and
       17 propel its stock upward. That same day the market analysts from Wells Fargo
       18 covering LPL stressed that, “the buyback program clearly signals management’s
       19 confidence in the outlook.”
       20            14.   As intended, LPL’s announcement that it would buy back half a billion
       21 dollars’ worth of its own shares signaled the Company’s confidence in its ability to
       22 fund the buyback by delivering solid financial results and earnings, propelling LPL’s
       23 stock price over 10% in the days following the Company’s announcement.
       24            15.   On November 24, 2015, LPL announced that it had entered into an
       25 agreement with Goldman Sachs & Co. (“Goldman”) whereby the bank would carry
       26 out half ($250 million) of the $500 million share repurchase on an accelerated
       27 schedule. LPL stressed that the accelerated share repurchase plan was not anticipated
       28 to occur immediately, but instead “will take several months to complete.”

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            1        16.    However, behind the scenes by at least the beginning of December 2015,
            2 with less than a month left in 4Q15, LPL’s contemporaneous internal financial results
            3 and “key metrics” showed that the Company was in the midst of a disastrous fourth
            4 quarter. The reforms the Company had implemented as a result of recent regulatory
            5 fines and penalties and a revamped Department of Labor (“DOL”) fiduciary rule had
            6 caused a sharp downturn in some of the Company’s most profitable financial
            7 products, including its alternative investment products which would end up down
            8 nearly 75% year-over-year during the quarter. Advisory firms with large accounts
            9 were leaving LPL (to join LPL’s competitors) at an accelerated pace heading into
       10 4Q15.
       11            17.    Likewise, LPL’s net new advisory assets, brokerage and advisory assets
       12 and gross profits were also in the midst of a substantial decline from expectations.
       13 LPL was near quarter-end with only three weeks left, and the financial metrics utilized
       14 by the Company and its senior management to measure these key areas of
       15 performance provided the Company visibility into the significant decline in its fourth
       16 quarter performance. This real-time visibility in LPL’s results has been acknowledged
       17 by at least three LPL stakeholders; (i) a Wells Fargo analyst acknowledged from
       18 dealings with LPL that its senior management has a “good line of sight” into LPL’s
       19 intra-quarter performance; (ii) Defendant Audette acknowledged on December 8,
       20 2015 his intra-quarter insight into the “last two months” (October and November) of
       21 LPL’s performance and LPL was “executing it all well”; and (iii) Defendant Casady
       22 acknowledged in February 2016 that at the time of the buyback in early December
       23 2015 “certainly we had insight into the quarter . . . and knew we would have
       24 challenges.”5
       25
       26       5
             The “challenges” Casady referred to was not the buyback, because the buyback
          was successfully completed months ahead of schedule. The “challenges” faced by
       27 LPL at this time were its declining key metrics of advisory growth, assets, gross
          profits and revenue.
       28

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            1        18.    As of early December 2015, when LPL was suffering a disastrous fourth
            2 quarter, the following factors were evident, known or knowable to Defendants, LPL
            3 senior management and TPG: (i) LPL maintained real-time information systems that
            4 reported via the field advisors’ BranchNet platform and other online account systems,
            5 to LPL’s corporate Oracle reporting systems, the then-current customer account
            6 values, including aggregated levels of “assets under management,” levels of “advisory
            7 assets,” levels of “brokerage assets,” and “commission revenues”; (ii) LPL prepared
            8 online, instantaneous account statements for its advisors’ customers that included the
            9 base data supporting LPL’s key financial metrics; (iii) financial advisors that were
       10 departing LPL for competitors had notified LPL of their departures and the associated
       11 lost AUM was evident in LPL’s real-time information systems; (iv) TPG maintained
       12 an explicit right at any time to access LPL’s financial information, and “significant
       13 influence” and ability to effectively control LPL’s financial decisions; (v) the LPL
       14 Board of Directors (on which former TPG partners Schifter and Boyce were directors)
       15 met formally 10 times in 2015, and thus would have likely met in close proximity to
       16 early December 2015 and discussed LPL’s financial performance; (vi) TPG had
       17 utilized its prior influence in elevating Casady to Chairman and CEO; and (vii)
       18 Casady’s future, which only one month prior was publicly reported to be uncertain
       19 and “attracting a lot of conjecture,” depended on the continued approval of LPL’s
       20 Board, of which Schifter and Boyce were members.
       21            19.    As a result of these factors, and as of the December 8, 2015 conference
       22 call with the investment community, Defendants either knew, or were reckless in not
       23 knowing, that (i) LPL’s rate of monthly growth of net new advisory assets had already
       24 declined by approximately $500 million or more per month in 4Q15 from a monthly
       25 average rate of $1.5 billion per month to a rate approximating $1.0 billion per month6;
       26
                6
             As explained in detail below at ¶¶70-83, Plaintiff’s analyses of net new advisory
       27 assets for the two months ended November 2015 reveal an approximate $1 billion
          overstatement as of the December 8, 2015 conference call. This figure represents
       28 Plaintiff’s best estimate based on available information and extensive analyses. The

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            1 (ii) Defendants were experiencing, in October and November 2015, extraordinarily
            2 poor correlation (below 50%) between growth of LPL’s AUM relative to equity
            3 market movements, indicating that LPL’s AUM levels were already negatively
            4 impacted by several billion dollars in 4Q15 due to factors other than market
            5 movements; (iii) LPL advisors with larger accounts and AUM were leaving LPL at an
            6 accelerated rate through October 2015 as compared to prior years; (iv) in addition to
            7 declining asset growth, LPL was experiencing a severe reduction in the sale of high-
            8 commission alternative investments (such as structured products), materially and
            9 negatively impacting LPL’s commission revenues in 4Q15; and (v) each of these
       10 factors, when viewed holistically, indicated to LPL insiders that LPL’s intra-quarter
       11 growth, gross profits and earnings streams were being materially and adversely
       12 impacted by undisclosed factors, causing LPL’s financial results to likely fall far short
       13 of Wall Street’s expectations.
       14            20.    TPG knew that if the market learned that LPL’s fourth quarter results fell
       15 far short of Wall Street expectations, it would cause a significant decline in LPL’s
       16 stock price from the historically high levels at which its shares were trading in early
       17 December. This would result in massive losses to the value of TPG’s portfolio of LPL
       18 stock, unless TPG was able to unload its LPL stock before this negative financial
       19 information became public. Thus, in late November/early December, and sometime
       20 prior to December 8, 2015, TPG approached Goldman – who was executing the
       21 buyback for LPL – to cash out more than 4 million shares from TPG’s ownership of
       22 LPL through the accelerated share repurchase program while the stock was still
       23 trading at historically high levels.
       24            21.    Prior to this sale being publicly disclosed, on December 8, 2015, LPL
       25 provided investors a near-end-of-fourth quarter financial update. LPL falsely assured
       26 investors that the Company was performing as expected, including that LPL over the
       27 precise facts, circumstances, and amount of the overstatement rely on non-public
          evidence uniquely and solely within Defendants’ possession and control.
       28

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            1 “last two months” had an “earnings stream that is quite steady,” and that the Company
            2 had been “executing it all well” – all while omitting the fact that up to that time LPL
            3 was suffering a weak fourth quarter with severely disappointing financial results,
            4 including a monthly average reduction of net new advisory assets by approximately
            5 $500 million (or 33% each month), a less than 50% market correlation to LPL’s levels
            6 of AUM (dropping from 60% historical levels), and a sharp reduction in commission
            7 revenues. LPL’s false and misleading message was material because growing asset
            8 levels were necessary to support LPL’s earnings stream and produce the necessary
            9 cash flow in the future to allow LPL to successfully execute its $500 million
       10 repurchase plan, pay down its associated debt and avoid any potential breach of its
       11 debt covenants. Defendants’ December 8, 2015 statements followed less than six
       12 weeks after LPL had, on October 29, 2015, reassured the public that substantially
       13 increasing the Company’s debt ratio to complete the $500 million repurchase “makes
       14 the most sense today,” and expressed management’s confidence in LPL’s financial
       15 outlook for the fourth quarter of 2015.
       16            22.    Such statements were still alive in the market, and LPL’s December 8,
       17 2015 statements reassured investors that: (i) nothing had materially changed since the
       18 share buyback was announced on October 29, 2015; and (ii) that LPL’s earnings
       19 stream was more than sufficient to go forward with a $500 million repurchase plan
       20 that made economic sense and would drive shareholder value. LPL knew that if it
       21 disclosed the truth regarding LPL’s financial results, LPL’s stock price would decline
       22 significantly and cause TPG (who served as Casady’s benefactor and overseer) to lose
       23 out on tens of millions of dollars in insider trading proceeds. TPG’s “significant
       24 influence over corporate transactions,” ability to effectively control LPL’s decisions,
       25 regardless of whether it is in the best interest of LPL’s shareholders, and TPG’s
       26 information rights to LPL’s real-time financial results ensured that LPL did not
       27 disclose to other investors LPL’s disappointing 4Q 2015 performance. On December
       28 8, 2015, LPL’s stock closed at $45.06 per share, near its highest levels in two years.

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            1         23.    Only two days later, on December 10, 2015, and contrary to LPL’s
            2 statement only two weeks earlier that the share repurchase program “will take several
            3 months to complete,” the Company announced that it had completed the entire $250
            4 million (i.e., first half) of the accelerated share repurchase program in only a matter of
            5 days, allowing TPG to cash out 4.3 million shares of its LPL common stock at $43.27
            6 per share. More than three quarters of LPL’s $250 million buyback spending went to
            7 TPG, who at the time of the sale maintained the right to control and influence LPL’s
            8 financial decisions and had direct access to LPL’s undisclosed “24/7” intra-quarter
            9 financial information indicating that LPL was suffering a disastrous fourth quarter.
       10 The transaction allowed TPG to dispose of approximately one-third of its stake in LPL
       11 at historically high levels, generating approximately $187 million in insider sales
       12 proceeds. Only on February 11, 2016 was it finally revealed that TPG had cashed in
       13 by selling millions of LPL shares at historically high share prices, while the Company
       14 was in the midst of a terrible fourth quarter that had not yet been disclosed to the
       15 public.
       16             24.    On February 11, 2016, LPL announced its fourth quarter and full year
       17 2015 financial results that revealed the false and misleading nature of Defendants’
       18 December 8, 2015 statements. LPL disclosed that gross profits had fallen 35% in the
       19 quarter and 5% for the year and that it had generated only $0.37 per share in adjusted
       20 earnings per share (“EPS”), 27% below consensus analyst estimates of $0.51 per
       21 share. The Company further revealed that reported net new advisory assets for the
       22 fourth quarter were only $3.1 billion, $1.4 billion less than Defendants had misled
       23 investors to believe on December 8, 2015. The Company also disclosed that the
       24 negative performance in LPL’s advisory and brokerage assets resulted in reported
       25 earnings being worse than expected – in contrast to their December 8, 2015 statements
       26 that advisory and brokerage assets had recovered along with improving market levels.
       27 Finally, LPL disclosed that in 4Q15, LPL’s gross profit declined 5.1% from $339.8
       28

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            1 million in 3Q15 to $322.4 million in 4Q15, the Company’s worst sequential gross
            2 profit decline in four years, primarily as a result of falling commission revenues.
            3        25.    As a result of this news, on February 12, 2016 the price of LPL common
            4 stock dropped $8.76, nearly 35% in one day, on record volume, to close at $16.50 per
            5 share. Had LPL not bowed to TPG’s influence and control, and purchased TPG’s
            6 shares in the buyback only after disclosing its fourth quarter results, TPG’s insider
            7 trading proceeds would have been diminished by approximately $115 million.
            8 Correspondingly, LPL would have been able to purchase the same number of LPL
            9 shares back from TPG for $115 million less.
       10            26.    Financial market analysts described LPL’s financial results as “ugly” and
       11 “very weak” and recognized the financial impact of this previously concealed
       12 information. William Blair analysts highlighted that: (i) “[g]ross profit of $322
       13 million was $12 million below our estimate ($0.07 EPS impact) due to a combination
       14 of items but particularly lower alternative investment revenues”; (ii) “[n]et new
       15 advisory assets totaled $3.1 billion in the quarter and $16.7 billion for the year”; and
       16 (iii) “[a]lternative investment commissions (largely non-traded REITs) were down
       17 38% sequentially and likely will continue to decline.” Wells Fargo analysts stressed
       18 that “all in all it was a very challenging quarter with revenue down over 7% year-
       19 after-year including commissions that were down 12% year-after-year.” Credit Suisse
       20 analysts emphasized that the “well below expectations” earnings miss was driven by
       21 “weaker gross profits . . . characterized by a pull-back in brokerage sales, [and] weak
       22 advisor growth trends.” UBS analysts noted that “[u]nderlying growth metrics were
       23 unimpressive” because among other things, “net new asset growth slowed.”
       24            27.    JP Morgan analysts also noted “a lack of confidence in management” and
       25 that “management looks bad here.” Moreover, during the February 11, 2016 LPL
       26 investor call, the Wells Fargo analyst expressed overt cynicism that LPL did not
       27 previously know of the disappointing financial results, given its real-time “24/7” view
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            1 of LPL performance, and noted the suspicious timing in which LPL bought back its
            2 shares from TPG:
            3         The follow-up I had really had to do with the buyback, and I know you
                      guys tend to have a pretty good line of sight in your business. And so I
            4         would imagine when you guys had some idea that the fourth quarter was
                      going to be pretty challenging. So not sure why then you buy so much
            5         stock ahead of that print as opposed to waiting until after the fact and
                      then you have all kinds of dry powder.
            6
                      28.    In response, Defendant Casady admitted LPL had “insight into the
            7
                quarter . . . and knew we would have challenges,” but blamed the Company’s poor
            8
                results and deteriorating performance completely on an unforeseen market downturn.
            9
                Casady went so far as to cavalierly state that the scrutiny which he was facing from
       10
                the market for his purported unforeseen surprise regarding LPL’s weak fourth quarter:
       11
                      Well, I think the surprise is the market downturn. No one predicted the
       12             Spanish Inquisition. So, as you look at it, you have the six weeks of
                      relentless market drop including today, and that is the issue. So I think
       13             as you look at it, what we saw was an opportunity to get the first wave of
                      buyback done at pace, and we have always been an aggressive buyer of
       14             our shares. So this is no different in terms of our behavior, and certainly
                      we had insight into the quarter. And you knew we would have
       15             challenges, but didn’t feel we would be that far off from the rest of the
                      market, and I think the rest of the market’s reporting shows that we’re
       16             not that far off. And so on a relative basis, we will have said that the
                      price is going to be somewhere around a number not too different than
       17             we used, and therefore, it makes sense to do it sooner rather than later in
                      terms of reducing share count. It was no more complex than that.
       18
                      29.    But, contrary to Defendant Casady’s “market” excuse, analysts from JMP
       19
                Securities and Wells Fargo noted respectively that the fourth quarter results were due
       20
                not solely to a volatile market but were also the result of “company-specific
       21
                headwinds,” and “other [LPL specific] issues affecting results including a low level of
       22
                net recruiting and ongoing declines in alternative investment sales.”
       23
                      30.    Moreover, Casady’s excuse that it was somehow only a “surprise” market
       24
                downturn that caused LPL’ s disastrous fourth quarter is belied by the fact that LPL’s
       25
                results and stock price decline were each drastically worse than the Company’s market
       26
                and industry peers.
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            1        31.    The six publicly traded companies LPL listed in its February 25, 2016
            2 10-K filing as its peers and that provided quarterly reports beat Wall Street analyst
            3 earnings expectations by 5.5% on average for the fourth quarter of 2015. But, LPL
            4 missed by over 27% in comparison:
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       20            32.    Likewise, analyzing the stock price decline using the earning release date
       21 of ±1 trading day, LPL’s peers on average suffered a 3.7% stock price decline
       22 following the release of their fourth quarter 2015 results. But LPL stock price
       23 declined by nearly 22% – almost seven times as much as its peers:
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       16        33.    The fallacy of Defendant Casady’s excuse that LPL’s disastrous fourth
       17 quarter 2015 results were due only to a “surprise” market downturn is further shown
       18 by the fact that LPL’s earnings performance and corresponding stock price decline
       19 was substantially worse than the 16 comparable companies in the New York Stock
       20 Exchange ARCA securities broker dealer index. These companies on average for the
       21 fourth quarter 2015 beat Wall Street analysts’ earnings expectations by 3.8%, but LPL
       22 missed by over 27.3% in comparison.
       23        34.    Likewise, analyzing the earning release date of ±1 trading day, these 16
       24 comparable companies on average suffered a -.5% stock price decline following the
       25 release of fourth quarter 2015 results. But LPL stock price dropped by 21.9% – over
       26 twenty times as much:
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       15        35.   LPL’s drastically worse fourth quarter performance and stock price
       16 decline in comparison to its market and industry peers, as demonstrated in ¶¶29-34
       17 above, shows that it was hardly a purported unforeseen general market downturn that
       18 caused LPL’s weak fourth quarter results. That Casady could offer only a widespread
       19 unsupported excuse for LPL’s fourth quarter results further demonstrates LPL’s
       20 complicity in deceiving investors.
       21        36.   The following chronology illustrates Defendants’ fraud:
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       16         37.   As a result of Defendants’ false statements, LPL common stock traded at
       17 artificially inflated prices during the Class Period. However, as the truth was revealed
       18 into the market, the Company’s common stock fell almost 63% from its Class Period
       19 high, as the artificial inflation was removed from the stock. As a result of their
       20 transactions in artificially inflated LPL common stock during the Class Period,
       21 Plaintiff and other class members suffered significant damages. By contrast, TPG
       22 generated $187 million in proceeds by selling its LPL stock back to the Company at
       23 peak prices. If TPG had sold after LPL’s disastrous fourth quarter results and
       24 diminished prospects were disclosed to the market, it would have generated $115
       25 million less in insider trading proceeds.
       26
       27
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            1                           JURISDICTION AND VENUE
            2        38.    The claims asserted herein arise under and pursuant to §§10(b) and 20(a)
            3 of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated
            4 thereunder by the SEC, 17 C.F.R. §240.10b-5.
            5        39.    This Court has jurisdiction over the subject matter of this action pursuant
            6 to 28 U.S.C. §1331 and §27 of the 1934 Act.
            7        40.    Venue is proper in this District pursuant to §27 of the 1934 Act and 28
            8 U.S.C. §1391(b). Many of the acts charged herein, including the preparation and
            9 dissemination of materially false and misleading information, occurred in substantial
       10 part in this District. LPL also maintains primary offices and an operational center in
       11 this District. Defendant Audette maintains a residence in this District and is based out
       12 of this District, and Defendant Casady has maintained a residence in this District for
       13 several years.
       14            41.    In connection with the acts alleged in this complaint, Defendants, directly
       15 or indirectly, used the means and instrumentalities of interstate commerce, including,
       16 but not limited to, the mails, interstate telephone communications and the facilities of
       17 the NASDAQ stock market.
       18                                           PARTIES
       19            42.    Lead Plaintiff Soft Drink and Brewery Workers Union Local 812
       20 Retirement Fund purchased LPL common stock at artificially inflated prices during
       21 the Class Period and has been damaged as a result of Defendants’ alleged misconduct,
       22 as detailed in the Certification previously filed, (Dkt. No. 10-3) and incorporated
       23 herein.
       24            43.    Defendant LPL is an independent broker-dealer, a custodian for RIAs and
       25 an independent consultant to retirement plans. The Company maintains primary
       26 offices at 4707 Executive Drive, San Diego, California 92121.
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            1        44.   Defendant Casady was the Company’s Chairman of the Board and CEO
            2 until his “early retirement” in March 2017, positions he had held since December
            3 2005 and March 2006, respectively.
            4        45.   Defendant Audette is the Company’s CFO, a position he has held since
            5 September 2015.
            6        46.   The Defendants referenced above in ¶¶44-45 referred to herein as the
            7 “Individual Defendants.” The Individual Defendants made, or caused to be made,
            8 false statements which caused the price of LPL common stock to be artificially
            9 inflated during the Class Period.
       10            47.   The Individual Defendants, because of their positions with the Company,
       11 possessed the power and authority to control the contents of LPL’s data derived from
       12 LPL’s BranchNet reporting platform, online account systems, and similar “24/7”
       13 reporting systems, daily reports, shareholder letters, press releases and presentations to
       14 securities analysts, money and portfolio managers and institutional investors, i.e., the
       15 market. They made or were provided with the public statements alleged herein to be
       16 misleading prior to or shortly after their issuance and had the ability and opportunity
       17 to prevent their issuance or cause them to be corrected. They also participated in
       18 conference calls with securities analysts and investors in which they made materially
       19 misleading statements and omissions and held themselves out to be knowledgeable on
       20 the topics which they discussed. Because of their positions with the Company, and
       21 their access to material non-public information available to them but not to the public,
       22 the Individual Defendants knew that the adverse facts specified herein had not been
       23 disclosed to and were being concealed from the public, and that the positive
       24 representations being made were then materially false and misleading. The Individual
       25 Defendants are liable for the false and misleading statements pleaded herein.
       26                                 DEFENDANTS’ FRAUD
       27            48.   Defendants are liable for: (i) making materially false public statements;
       28 or (ii) failing to disclose adverse material facts known to them which rendered their

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            1 public statements about LPL false or misleading. Defendants’ fraud: (i) deceived the
            2 investing public regarding LPL’s contemporaneous financial results, “key metrics,”
            3 prospects and business; (ii) artificially inflated the price of LPL common stock; and
            4 (iii) caused Plaintiff and other members of the Class (as defined below) to purchase
            5 LPL common stock at artificially inflated prices, and suffer damages when the
            6 previously non-disclosed truth was finally revealed.
            7                                  BACKGROUND
            8        49.    LPL, together with its subsidiaries, provides an integrated platform of
            9 brokerage and investment advisory services to independent financial advisors and
       10 financial advisors at financial institutions in the United States. Its brokerage offerings
       11 include variable and fixed annuities, mutual funds, equities, retirement and 529
       12 education savings plans, fixed income products, insurance and alternative investments.
       13 LPL’s insurance offerings comprise personalized advance case design, point-of-sale
       14 service, and product support for a range of life, disability, and long-term care
       15 products. The Company also offers fee-based advisory platforms and support, which
       16 provide access to no-load/load-waived mutual funds, ETFs, stocks, bonds,
       17 conservative option strategies, unit investment trusts, institutional money managers,
       18 and no-load multi-manager variable annuities. In addition, LPL offers cash sweep
       19 programs and retirement solutions, a fee-based service that allows qualified advisors
       20 to provide consultation and advice. Further, LPL provides other services comprising
       21 tools and services enabling advisors to maintain and grow their practices and custodial
       22 services to trusts for estates and families. The Company offers its services to
       23 approximately 14,000 independent financial advisors, including financial advisors at
       24 approximately 700 financial institutions.
       25 LPL’s Key Performance Metrics
       26            50.    The majority of LPL’s revenue streams fall into two categories:
       27 commission revenues and advisory revenues. For fiscal 2015, commission revenues
       28 and advisory revenues generated 46% and 32%, respectively, of LPL’s total net

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            1 revenues. Commission revenues derive from upfront advisor fees and commissions
            2 for investment products and, for certain products, a trailing commission. Advisory
            3 revenues derive from fee-based advisory platforms and the provision of ongoing
            4 investment advisory services. As explained by LPL in its 2014 Form 10-K, “[N]et
            5 new advisory assets are a primary driver of future advisory fee revenue and have
            6 resulted from the continued shift by our existing advisors from brokerage towards
            7 more advisory business.” The Company has also highlighted net new advisory assets
            8 as a key business metric in every 10-K and 10-Q from 4Q14 through 4Q15 in the
            9 Company’s MD&A under a subsection entitled “How We Evaluate Our Business.” 7
       10 For fiscal 2015, 72% of LPL’s revenue was recurring in nature, providing the
       11 Company substantial visibility into its future revenue streams. In addition, for
       12 transaction-based commissions, the Company generates revenues “at the point of
       13 sale,” providing the Company with further visibility into its commission-based
       14 revenues at a given point in time.
       15 LPL’s Real-Time View of Performance Data
       16            51.   LPL also had, before and throughout the Class period, significant and
       17 real-time “24/7” visibility into its performance data and key metrics measuring asset
       18 balances and related revenues. For example, LPL management had real-time “24/7”
       19 access to “key metrics” including then-current levels of advisory and brokerage assets
       20 via LPL’s management systems’ interface to “BranchNet,” LPL’s proprietary advisor
       21 platform that LPL claims is “one of our competitive strengths.” LPL also maintains
       22 instantaneous account information online.8
       23
              LPL’s SEC filings explain, “[a]dvisory and brokerage assets are comprised of
               7

       24 assets that are custodied, networked, and non-networked, and reflect market
          movement in addition to new assets, inclusive of new business development and net of
       25 attrition. Insured cash account and money market account balances are also included
          in advisory and brokerage assets.” Net new advisory assets consist “of funds from
       26 new accounts and additional funds deposited into existing advisory accounts that are
          custodied in our fee-based advisory platforms.”
       27 8
              For a demonstration of LPL’s online investment account platform, see
       28 https://www.youtube.com/watch?v=DCarkq9c5d0.

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            1        52.    LPL describes BranchNet’s capabilities for providing real-time
            2 information about account levels, types of trades, and compliance documentation,
            3 telling investment advisors that BranchNet is “[a]ccessible 24/7 . . . provid[ing]
            4 straight-through processing of trade requests, execution of mutual fund, equity, fixed
            5 income, option, annuity and direct business transactions. You will receive
            6 documentation, tax reporting and trade confirmations through BranchNet, as well.”
            7 LPL also represents that BranchNet generates “Portfolio Reports” that allow LPL
            8 financial advisors “to analyze your clients’ holdings and help you potentially grow
            9 your assets under management. It allows you to quickly find all accounts and all
       10 positions held by a client or household through one convenient location; and offers
       11 multiple views of your aggregate data.”
       12            53.    LPL’s BranchNet platform and other online account systems, with “24/7”
       13 real-time data, interfaces directly with LPL’s Oracle-based and other management
       14 reporting systems, allowing LPL senior management to view LPL’s key metrics on a
       15 real-time basis, an industry standard. For example, LPL’s information systems –
       16 essentially unchanged throughout the Class period and into 2016 – could report to
       17 LPL shareholders within 18 days (on February 18, 2016), the monthly results of net
       18 new advisory assets for January 2016. The BranchNet platform interface with LPL
       19 corporate-based systems can similarly aggregate a real-time “24/7” detailed and
       20 itemized breakdown of assets, including advisory, brokerage, alternative investments,
       21 mutual funds, cash, and associated revenues for each component of the total assets
       22 under management as the following screenshot illustrates:
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       20 TPG’s Control of LPL and Casady
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                 54. Prior to 2010, LPL was majority owned by TPG and Hellman &
       22
          Friedman, two private equity firms that owned a combined 72% stake in LPL. In
       23
          November 2010, these private equity firms took LPL public in an IPO in which 15.7
       24
          million LPL shares were sold to the public at $30 per share.
       25
                 55. Even after the IPO, TPG retained a substantial ownership stake in LPL
       26
          and influence over its affairs. Two TPG partners, Boyce and Schifter, served as
       27
          directors of LPL. TPG partner Schifter became LPL’s “Lead Director” in 2013 to
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            1 2014 and also served on the LPL Board of Governance and Nominating Committee –
            2 a role that ensured TPG access to LPL governance information, influence in the
            3 selection of Board of Director candidates, and evaluation of the Board. TPG partner
            4 Boyce also served on LPL’s Compensation Committee, which determined all aspects
            5 of Defendants Casady and Audette’s compensation, including salary, bonus,
            6 incentives, deferred compensation, benefits, and severance.
            7        56.    As stated in LPL’s public filings, TPG retained “significant influence
            8 over corporate transactions” and the ability “to strongly influence or effectively
            9 control LPL’s decisions” and “will continue to be able to influence [LPL’s] decisions
       10 regardless of whether or not the stockholders believe that the transaction is in their
       11 own best interests.”
       12            57.    In exercising such influence and control over LPL, TPG in its
       13 shareholder agreement with LPL also explicitly received “the right to obtain any
       14 reports, documents, information or other materials . . . which a member of the LPL
       15 Board has received or has the right to receive.” TPG also had the right to receive
       16 additional information regarding LPL’s business directly from the Company’s
       17 executive officers. Effectively, this meant that by virtue of the fact that TPG partners
       18 Boyce and Schifter served on LPL’s Board of Directors and TPG’s other rights to
       19 inside information, TPG as an entity had the right at any time to access inside
       20 financial information regarding LPL’s financial results and prospects not available to
       21 other investors. This special access allowed TPG to always have real-time visibility
       22 into LPL’s financial performance and to have inside information on which to either
       23 trade or hold its LPL shares. TPG maintained its ability to control and influence
       24 LPL’s decisions and its rights to inside information during the 2015-2016 time-period
       25 relevant to this action.
       26            58.    LPL has also identified TPG as a “related party” in SEC filings, and
       27 stated that it has continued to enter into various related-party transactions with TPG
       28

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            1 and certain of TPG’s portfolio companies since the IPO. As of December 31, 2014,
            2 TPG owned approximately 13% of the outstanding shares of LPL common stock.
            3 LPL’s Regulatory Problems
            4         59.     Following the IPO, LPL became the subject of several regulatory and
            5 governmental investigations into allegedly fraudulent, deceptive and/or legally
            6 deficient business practices at the Company and among its network of financial
            7 advisors:
            8                In February 2013 it was announced LPL had settled allegations by
                              Massachusetts securities regulators that it had failed to adequately
            9
                              supervise its brokers who sold investments in non-traded REITs for $2.5
       10                     million.
       11                    In May 2015 FINRA announced that it had sanctioned LPL $11.7
       12                     million for “[w]idespread [s]upervisory [f]ailures [r]elated to [c]omplex
                              [p]roduct [s]ales, [t]rade [s]urveillance and [t]rade [c]onfirmations
       13                     [d]elivery.”
       14
                             In September 2015 it was announced that LPL had agreed to pay $1.8
       15                     million to settle charges by the Massachusetts Attorney General that it
       16                     had improperly sold and marketed risky ETFs to retail investors.

       17                    Also in September 2015, it was announced that LPL had agreed to
                              remediate investor losses and pay $1.425 million in civil penalties to
       18
                              regulators in 48 states, the District of Columbia, Puerto Rico and the
       19                     U.S. Virgin Islands for its alleged failure to implement an adequate
       20                     supervisory system regarding its sale of non-traded REITs and its failure
                              to enforce its written procedures regarding the sale of non-traded REITs.
       21
                LPL’s Departing Advisors
       22
                      60.     During LPL’s regulatory problems, the pace at which LPL advisors and
       23
                their associated AUM were departing LPL accelerated in 2015, and in particular, in
       24
                October 2015, as the following data from InvestmentNews.com illustrates:
       25
            2015                   Advisor(s)           AUM           Firm joining              State
       26   Date                                        ($M)
          Jan. 9            Metz, Sanchez, Sbrocco     $150.00 Raymond James                     NJ
       27 Jan. 15           Sedberry, Jones              93.00 Raymond James                     CA
       28 Jan. 20           Morris                       65.00 Indep. Financial Group            CA

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            1     2015           Advisor(s)           AUM             Firm joining         State
                  Date                                ($M)
            2   Jan. 26    Shen                        50.00   Indep. Financial Group       CA
                Feb. 2     Bethea, Angst              100.00   Securities America           AL
            3   Mar. 13    Freibart                    61.36   Ameriprise Financial         LA
            4   May 5      Doneth                     146.91   Ameriprise Financial         OR
                May 15     King, Kelly                108.00   Commonwealth Fnl.            NJ
            5   May 29     Daigle, Comeaux, Bond      350.00   Commonwealth Fnl.            LA
                May 29     Eggers                     150.00   Raymond James                TX
            6   June 1     Ronn, Phillips, Phillips   158.00   Kestra Financial            MN
                July 7     Bordelon, Lock, Hollis     800.00   Securities America           LA
            7   Aug. 3     Kennedy                     79.00   Wells Fargo Advisors         FL
                Aug. 7     Levengood                   50.00   Voya Financial Advisors      PA
            8   Sept. 16   Jones                               Securities America
                                                       80.00                                OK
            9   Oct. 19    Pickler, Baile             250.00   Commonwealth Fnl.            TN
                Oct. 21    Lancaster (3)              166.00   Raymond James                TX
       10       Oct. 22    Laughter, Jones            114.00   Commonwealth Fnl.            GA
                Oct. 30    Varma                      219.00   FSC Securities               CA
       11       Nov. 6     Minton                      72.00   Ameriprise Financial         WI
       12
       13            61.     The rate of advisors and AUM departing LPL was greatly accelerated in

       14 2015 as compared to prior years, as reported by InvestmentNews.com:
       15                       Advisor Firms          Related AUM         Avg. AUM
                 Year
                                 Leaving LPL           Leaving LPL         per Advisor
       16        2013                  9               $1.215 billion     $135 million
       17        2014                 14                1.534 billion       110 million
                         9
           Jan – Nov 2015             20                3.262 billion       163 million
       18
       19 LPL’s First Half of Planned $500 Million Share Repurchase
       20      62. On October 29, 2015, LPL financial announced its third quarter fiscal
       21 2015 financial results. LPL reported adjusted EPS for the quarter of $0.55 per share,
       22 above consensus analyst estimates, and stated that it expected to move on from its
       23 regulatory problems with “meaningfully lower” regulatory-related charges going
       24 forward. It also announced that it would be implementing a new “capital management
       25 plan to create greater shareholder value.” Key to this plan was a $500 million share
       26
          9
              In the month of October 2015, the AUM of advisors departing LPL for competitors
       27 totaled a whopping $749 million for one month, whereas the previous two months
          (August and September 2015) totaled $209 million.
       28

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            1 repurchase program authorized by the Board. The Company stated that in order to
            2 pay for this share repurchase it planned to significantly increase its target leverage
            3 ratio from a range of two to three times net debt-to-earnings before interest, taxes,
            4 depreciation and amortization (“EBITDA”) to a ratio of four times net debt-to-
            5 EBITDA. On a conference call to discuss the quarterly results, Defendant Casady
            6 stated that the share buyback was a “bargain,” as he believed LPL shares were trading
            7 “at a significant discount to what we believe is their intrinsic value.” Defendant
            8 Audette meanwhile stated that increasing the Company’s leverage to a four times net
            9 debt-to-EBITDA ratio is “what makes the most sense today,” and that LPL would
       10 only go above the four times debt-to-EBITDA ratio if there were “very good returns to
       11 justify doing so.”
       12            63.    As intended, LPL’s announcement that it would buy back up to $500
       13 million of its own shares signaled the Company’s confidence in its ability to deliver
       14 expected financial results, increased its EPS and immediately propelled its stock price
       15 over 10% in the days following the Company’s announcement. As summarized by
       16 Wells Fargo’s market analyst, “[W]e believe the buyback program clearly signals
       17 management’s confidence in the outlook.”
       18            64.    On November 24, 2015, LPL issued a press release announcing that it
       19 had entered into a credit agreement for $700 million of new term loans due November
       20 20, 2022 and had extended $631 million of existing term loans to March 29, 2021 in
       21 order to fund the share repurchase plan. As a result of the debt transaction, the
       22 Company stated its net target leverage had increased to a 3.7 times net debt-to-
       23 EBITDA ratio, and that it would breach its revised credit covenants if its leverage
       24 exceeded a five times net debt-to-EBITDA ratio. In connection with the transaction,
       25 the Company incurred $21 million of debt issuance costs and its total weighted
       26 average interest rate for debt outstanding increased from 3.1% to 3.9%. The Company
       27 also announced that it had entered into an agreement with Goldman whereby it would
       28 pay Goldman $250 million to carry out an accelerated share repurchase on LPL’s

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            1 behalf. The press release stated that LPL estimated the accelerated share repurchase
            2 “will take several months to complete.”
            3 The December 8, 2015 Goldman Sachs Investor Conference
            4         65.    On December 2, 2015, LPL announced that it would present intra-quarter
            5 at a financial services conference sponsored by Goldman Sachs on December 8, 2015.
            6 On or about December 4, 2015, LPL insiders were preparing the presentation for the
            7 Goldman investor conference, consulting the Company’s most recent “24/7” financial
            8 records regarding its key metrics. See ¶¶50-53; 60-61, above. At the same time, TPG
            9 was consulting the same information and/or records as LPL senior management
       10 (including Defendants Casady and Audette), observed the poor intra-quarter results,
       11 and approached Goldman to discuss immediately cashing out a significant portion of
       12 its LPL stock through the accelerated share repurchase program that was supposed to
       13 take months to complete.
       14                         FALSE AND MISLEADING STATEMENTS
                                   ISSUED DURING THE CLASS PERIOD
       15
                      66.    At the December 8, 2015 conference and in the related slide presentation,
       16
                Defendants made false and misleading statements regarding LPL’s business, prospects
       17
                and financial results. These false and misleading statements reassured the market that
       18
                the financing of LPL’s share repurchase plan was viable, sensible and could be
       19
                achieved so long as LPL’s future earnings and cash flows could service the debt that
       20
                would fund the repurchase. For example, in response to an analyst question about
       21
                how LPL would “turn the page” on its recent regulatory problems, Defendant Casady
       22
                stated that “execut[ing]” the share repurchase would be “key” to driving top line
       23
                growth.
       24
                      67.    At the December 8, 2015 conference, in discussing the Company’s 2016
       25
                outlook, Defendant and CFO Audette highlighted the share repurchase capital plan,
       26
                claiming that it was “in the best interest of shareholders,” and reassured investors that
       27
                (having just left the CFO position of E*Trade, an LPL peer company) Audette had
       28

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            1 witnessed a Company that was a “lot more powerful and compelling than I thought
            2 from the outside,” with “an earnings stream that is quite steady and produces cash
            3 flow over time,” and that LPL had been “executing it all well” since he had come on
            4 board in late September 2015:
            5         Being here for these two months [October and November 2015] and
                      spending a lot of time, I wouldn’t say it was a surprise because it was
            6         expected, but I think it’s a lot more powerful and compelling than I
                      thought from the outside.
            7
                             Third, and what Mark kind of hinted to on the capital plan side,
            8         being at a place where there’s a lot less approvals necessary to go
                      execute on a capital plan in the best interest of shareholders. So, the
            9         way we speak about it, a capital-lite model, an earnings stream that is
                      quite steady and produces cash flow over time. Hopefully, the last two
       10             months have shown that that opportunity absolutely was there. We’re
                      executing it all well.
       11
                      68.    The above statements were material to LPL investors because they
       12
                conveyed the message that LPL’s earnings stream and financial prospects were steady
       13
                and would produce the necessary cash flow in the future to allow LPL to successfully
       14
                execute its repurchase plan, pay down its debt and avoid any potential breach of its
       15
                debt covenants. These statements also reaffirmed LPL’s statements on October 29,
       16
                2015, that substantially increasing the Company’s debt ratio to complete the $500
       17
                million repurchase “makes the most sense today,” and reassured investors that: (i)
       18
                nothing had changed; and (ii) that LPL’s earning stream was more than sufficient to
       19
                go forward with a repurchase plan that made economic sense and would drive
       20
                shareholder value.
       21
                      69.    The statements referenced in ¶¶67, 71, 75, 85, 86, 88-90, 92, 93, 97, 110
       22
                were materially false or misleading when made because they failed to disclose the
       23
                following facts:
       24
                             (a)     By at least the beginning of December 2015, LPL’s internal
       25
                financial results showed that LPL was in the midst of a disastrous fourth quarter.
       26
                LPL’s growth of net new advisory assets had declined by a monthly rate of
       27
                approximately $500 million, from a misrepresented rate of $1.5 billion per month to a
       28

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            1 rate approximating $1.0 billion per month.10 Defendants were also experiencing, in
            2 October and November 2015, extraordinarily poor correlation (below 50%) between
            3 growth of LPL’s AUM relative to equity market movements, indicating that billions
            4 of dollars of LPL’s AUM levels were being negatively impacted by factors other than
            5 market movements.       Compounding these negative metrics, Defendants were
            6 experiencing a severe reduction in the sale of high-commission alternative
            7 investments (such as structured products), materially and negatively impacting LPL’s
            8 commission revenues in 4Q15.
            9              (b)    The reforms LPL had implemented as a result of recent regulatory
       10 fines and penalties and a revamped DOL fiduciary rule had caused a sharp downturn
       11 in some of LPL’s most profitable financial products, including its alternative
       12 investment products which would end up down nearly 75% year-over-year during the
       13 quarter. Further, advisory firms with larger accounts (i.e., larger AUM) were leaving
       14 LPL (many to join LPL’s competitors) at an accelerated pace heading into 4Q15. LPL
       15 was already near quarter-end with only three weeks left to close of 4Q15, and the
       16 financial metrics utilized by the Company to measure these areas of poor performance
       17 were clearly visible to Defendants, given Defendant Audette’s repeated statements
       18 that his insider view of LPL concerned the “last two months” – October and
       19 November 2015. Similarly, LPL financial analysts knew that LPL had, as of
       20 December 2015, a “good line of sight” into its results and Defendant Casady also
       21 acknowledged a real-time view into 4Q15 results, saying in February 2016 that
       22 “certainly we had insight into the quarter . . . and knew we would have challenges.”
       23
       24
                10
             Based on the analyses below at ¶¶70-83, net new advisory assets in December
       25 were approximately $1 billion, which means that net new advisory assets for the two
          months ended October and November 2015 were approximately $2 billion (4Q15 total
       26 was $3.1 billion). Thus, as of the December 8, 2015 conference call, Defendants’
          representation that LPL was averaging $1.5 billion per month materially overstated
       27 net new advisory assets for the two months ended November 2015 by approximately
          $1 billion.
       28

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            1               (c)   The purchase was not in the best interests of LPL’s shareholders
            2 because Defendants did not expect future earnings to support the debt needed to fund
            3 a buyback up to $500 million. Instead, LPL bowed to TPG’s influence and control
            4 and purchased TPG’s holdings in LPL at inflated prices. Had LPL disclosed its true
            5 financial condition and prospects, the stock price would have been significantly less
            6 and the repurchase, would have been less costly for LPL. Indeed, when LPL’s true
            7 financial condition was revealed, the stock dropped 35% to $16.50 per share in a
            8 single trading day, representing a potential $115 million cost savings for the share
            9 repurchase.
       10                   (d)   Defendant Audette had recently joined the Company in late
       11 September 2015, after about four years as CFO of E*Trade Financial (an LPL peer
       12 company). Defendant Audette was therefore uniquely qualified and credible in
       13 making the misleading statement that LPL, with his insider view on the “last two
       14 months,” was even “more powerful and compelling” on the inside than was visible to
       15 investors “from outside,” which gave the false and misleading impression that
       16 Defendants, if anything, were being conservative in their representations to the market
       17 when in reality they were materially overstating the strength of LPL’s business,
       18 prospects and financial results.
       19        DEFENDANTS’ STATEMENTS MATERIALLY OVERSTATED LPL’S
                 LEVELS OF NET NEW ADVISORY ASSETS AND WERE FALSE AND
       20                        MISLEADING WHEN MADE
       21            70.    LPL’s “net new advisory assets” are a primary driver of future “advisory
       22 fee revenue,” both key financial metrics closely followed by LPL senior management,
       23 analysts and investors. Associated advisory revenues are a component of LPL
       24 revenue that is growing in importance to LPL as its revenue mix changes and the
       25 percentage of commissions’ revenues (relative to total revenues) declines. As
       26 explained by LPL in its 2014 Form 10-K, “[N]et new advisory assets are a primary
       27 driver of future advisory fee revenue and have resulted from the continued shift by our
       28 existing advisors from brokerage towards more advisory business.” LPL has also

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            1 highlighted net new advisory assets as a key business metric in every 10-K and 10-Q
            2 from 4Q14 through 4Q15 in the Company’s MD&A under a subsection entitled “How
            3 We Evaluate Our Business.” 11 Numerous analysts also highlighted net new advisory
            4 assets as an important financial metric demonstrating that LPL’s performance and
            5 revenues relating to net new advisory assets are material to LPL’s investors.
            6        71.    During Defendants’ December 8, 2015 investor presentation, Defendants
            7 made false or misleading statements regarding LPL’s continued earnings growth in
            8 the context of discussing net new advisory assets. Specifically, Defendant Audette
            9 gave the false or misleading impression that the rate of LPL’s net new advisory assets
       10 was at pace to achieve $4.5 billion in net new advisory assets in 4Q15:
       11            [N]et new advisory assets continue to flow in well. And we are
                     averaging about $1.5 billion a month. And you see that we had that in
       12            October [2015]. . . . [W]e are averaging about $1.5 billion [per month].
       13            72.    Defendants’ false or misleading statements were made to investors when
       14 referencing a power point slide within the December 8 presentation titled, “LPL Q4
       15 2015 Mid-Quarter Operational Update.”
       16            73.    In preparation of this presentation, on or about December 4, 2015,
       17 Defendants utilized the “24/7” real-time data resident in LPL’s BranchNet platform,
       18 online accounts platform, and Oracle-based and other interface systems that
       19 aggregated this data into LPL’s “key metrics” and other performance measures. At
       20 this time, Defendants were also knowledgeable regarding the status of advisors and
       21 associated AUM both joining and departing LPL through November and had
       22 reasonable expectations for December’s activity based on communications LPL
       23 maintains with its advisors. Defendants’ contemporaneous statements implied to the
       24
          11
              LPL’s SEC filings explain, “[a]dvisory and brokerage assets are comprised of
       25 assets that are custodied, networked, and non-networked, and reflect market
          movement in addition to new assets, inclusive of new business development and net of
       26 attrition. Insured cash account and money market account balances are also included
          in advisory and brokerage assets.” Net new advisory assets consist “of funds from
       27 new accounts and additional funds deposited into existing advisory accounts that are
          custodied in our fee-based advisory platforms.”
       28

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            1 market that reporting was real-time: (i) because net new advisory assets “continue to
            2 flow in well,” results for November 2015 were on pace with the “averag[e] [of] $1.5
            3 billion” per month (same as October 2015 results of approximately $1.5 billion per
            4 month) and (ii) with only the three weeks of December 2015 left to complete the
            5 fourth quarter, the Company had no reason to believe that net new advisory assets for
            6 December 2015 would deviate from the stated $1.5 billion per month average. In
            7 sum, LPL was on pace to garner an additional $1.5 billion for December, equaling a
            8 total of $4.5 billion for the fourth quarter of 2015.
            9         74.   Defendants were aided in this deception by the fact that LPL had
       10 consistently achieved a monthly average of $1.5 billion net new advisory assets ($4.5
       11 billion on a quarterly basis) for the preceding seven quarters (January 2014 through
       12 September 30, 2015) – a 21-month period:
       13
       14
       15
       16
       17
       18
       19
       20
       21
       22
       23
                      75.   Based on Defendants’ power point slide and Defendant Audette’s
       24
                contemporaneous statements that “we are averaging about $1.5 billion a month [in net
       25
                new advisory assets]” that “we had that in October [2015],” Audette falsely conveyed
       26
                to investors that he was commenting on LPL’s current performance, as compared to
       27
                what LPL “had . . . in October.” Defendant Audette’s statement misleadingly
       28

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            1 indicated that he was addressing ongoing quarterly results up to the date of the
            2 December 8 presentation, rather than just October 2015 results.
            3           76.   Thus, investors and analysts were left with the unmistakable – but false
            4 and misleading – impression that for the first two months of 4Q15, LPL had already
            5 earned about $3 billion net new advisory assets and that “net new advisory assets
            6 continue to flow in well,” as they had in the past.
            7           77.   On February 11, 2016, LPL announced that for the three months ended
            8 4Q15 it had generated only $3.1 billion in net new advisory assets, falling $1.4 billion
            9 short of a $1.5 billion monthly average for the quarter. Thus, Defendants’ December
       10 8, 2015 statements that “net new advisory assets continue to flow in well,” and that
       11 “we are averaging about $1.5 billion [per month]” were false and misleading when
       12 made, because LPL had only generated as few as $2 billion of net new advisory assets
       13 for the two month period ending November 2015, resulting in a gross overstatement
       14 for that two-month period of approximately $1 billion.12
       15               78.   Given the consistent inflow of over $1.5 billion per month throughout
       16 almost the entirety of 2015, Defendants had at least constructive knowledge that LPL
       17 was realizing less than $1.5 billion per month for October and November. To be true,
       18 December would have been zero, but December was not.
       19               79.   Net new advisory assets could not have been zero for the remaining
       20 month of December 2015, for various reasons.
       21                     (a)    First, as explained above, net new advisory assets are included in
       22 new assets under management gained from advisors that join LPL from other firms.
       23 For December 2015, LPL recruited 18 new advisory firms (a total of 20 advisors) that
       24 brought to LPL new accounts with assets under management of nearly $2 billion.13
       25
       26       12
                     See footnote 6, supra.
       27    LPL recruited advisors’ AUM in December 2015 was $1.981 billion. Even
                13

          assuming some timing differences or lags between months, nearly $2 billion
       28 represents a reasonable measure over any rolling one-month period based on a

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            1 Based on analysis of the particular advisors who joined LPL in December 2015, the
            2 incoming $2 billion AUM in December 2015 from new advisors consists of both
            3 advisory and brokerage assets. LPL reported that the advisory/brokerage asset ratio
            4 was 39.6% advisory assets in 4Q15. Applying this ratio to the $2 billion of
            5 transferred AUM in December 2015, net new advisory assets would have increased by
            6 about $780 million ($1.981 billion X 39.6% = $784 million) as a result of LPL adding
            7 new advisors in December 2015.
            8              (b)    Second, LPL reported no loss of advisors for December 2015, so
            9 there was no corresponding negative AUM attributable to advisors leaving LPL that
       10 would offset December’s nearly $2 billion in new advisors’ AUM. Likewise, there is
       11 no negative advisory assets for departing advisors in December 2015 to offset the
       12 estimated $780 million new advisory assets during that month for advisors joining
       13 LPL. Similarly, there is no indication from LPL’s reports that it suffered a significant
       14 outflow of customer advisory assets during December 2015.
       15                  (c)    Third, LPL would also increase net new advisory assets in
       16 December 2015 as a result of having converted $800 million of existing brokerage
       17 assets to advisory assets in 4Q15.14 Based on an analysis of LPL’s historically
       18 consistent conversion of brokerage assets into advisory assets, it is likely that
       19 brokerage assets of $200 million or more were converted into advisory assets in
       20 December 2015, as the following table depicts:
       21
       22
       23
       24
       25
          monthly average of $1.56B new AUM from incoming new advisors for the nine-
       26 month period July 2015 through March 2016.
       27 14 See “Q2 2017 Earnings Key Metrics” LPL slide presentation dated July 27, 2017 at
          6.
       28

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            1    Quarter         Brokerage to Advisory          Average Net Conversions per
            2                      Conversions (Net)                      Month
                 2Q15                 $1.2 billion                     $400 million
            3    3Q15                     1.0                              333
            4    4Q15                     0.8                              267
                 1Q16                     1.0                              333
            5
                 2Q16                     1.4                              467
            6    3Q16                     1.3                              433
            7
            8              (d)    Finally, equity market movements are of no consequence because

        9 e.g., these market level movements are not included in the LPL’s definition of net new
       10 advisory assets, or equity market levels were relatively stable in December 2015 in
       11 any event, indicating that there would be no significant outflows of net new advisory
       12 assets attributable to declining markets.
       13            80.   Based on the foregoing analyses, approximately $1 billion of net new

       14 advisory assets inflowed to LPL in December 2015, without indication of any
       15 significant offsetting factor(s). Thus, Defendants’ reporting of $1.5 billion a month
       16 average rate through the two months ended November 2015 is overstated by
                                                                                        15
       17 approximately $1 billion at the time of the December 8, 2015 conference call.

       18            81.   Had net new advisory assets been $4.5 billion for 4Q15, that would have

       19 represented expected growth, up from $4.2 billion the quarter before. Consequently,
       20 investors were stunned to learn on February 11, 2016 that by the close of 4Q15 on
       21 December 31, 2015, net new advisory assets had in fact plunged 26% sequentially
       22 from $4.2 billion in 3Q15 to $3.1 billion in 4Q15 and 23% year-over-year from $4.0
       23 billion in 4Q14 to $3.1 billion in 4Q15. As noted by UBS financial analysts,
       24 “[u]nderlying growth metrics were unimpressive” because, among other things, “net
       25 new asset growth slowed.” William Blair additionally highlighted that “[n]et new
       26
                15
              See footnote 6, supra. A $1 billion overstatement is consistent with Plaintiff’s
       27 allegations that Defendants overstated the level of assets under management. See ¶92,
          infra.
       28

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            1 advisory assets totaled $3.1 billion in the quarter and $16.7 billion for the year”
            2 recognizing the impact of this previously concealed information.
            3        82.    Additionally, the billion dollar plunge in net new advisory assets in 4Q15
            4 concealed by Defendants on December 8, 2015 substantially raised the risk that future
            5 net new advisory levels would trend below expectations as well. In fact, the drop in
            6 net new advisory assets that began before the December 8, 2015 conference call with
            7 investors continued into 1Q16. In 1Q16, LPL’s net new advisory assets would total
            8 only $2.0 billion (an average of $0.67 billion per month), plunging 35% sequentially
            9 from $3.1 billion in 4Q15 and nearly 62% year-over-year from $5.2 billion in 1Q15.
       10 Defendants not only failed to warn investors that net new advisory assets had already
       11 fallen substantially below an average of $1.5 billion per month at the time of their
       12 December 8, 2015 conference call, but also failed to warn investors that the
       13 significantly adverse trend that existed as of December 8, 2015 could be expected to
       14 continue into 2016.
       15            83.    Beginning 2016, LPL commenced monthly reporting of net new advisory
       16 assets. Analyses of these monthly statements and the related trends indicates further
       17 support for Plaintiff’s allegations that October 2015 and November 2015 amounts of
       18 net new advisory assets were overstated by approximately $1 billion. During the 20-
       19 month period from January 1, 2016 through August 31, 2017, LPL reported 5 months
       20 in which net new advisory assets declined from the previous month: 33.3% in April
       21 2016; 35.3% in September 2016; 10.5% in January 2017; 39.1% in April 2017; and
       22 20.0% in June 2017. Further, during this period, LPL never reported a monthly
       23 amount less than $200 million. Thus, during this 20-month period of time near the
       24 Class period, when LPL reported net new advisory assets on a monthly basis, LPL has
       25 never reported a monthly decline of more than 40% or $200 million. For Defendants’
       26 December 8 statements about net new advisory assets to be true, net new advisory
       27 assets would have needed to decline 93.3% in December 2015 and essentially net $0
       28 (during a month when there is evidence of up to $1 billion of inflows and no

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            1 significant offsetting outflows) – more than twice LPL’s largest monthly decline
            2 during the following 20-months period.
            3    DEFENDANTS’ STATEMENTS MATERIALLY OVERSTATED THE
                LEVEL OF LPL’S BROKERAGE AND ADVISORY ASSETS AND WERE
            4               FALSE OR MISLEADING WHEN MADE
            5        84.   LPL’s brokerage, advisory and other AUM is a financial metric material
            6 to investors because AUM is an important indicator of performance and financial
            7 health and growth, and represented a source of revenue for LPL. During the
            8 December 8, 2015 conference call, LPL stressed the “growth of assets and gross
            9 profits as more representative of its business growth than revenue growth,” and
       10 Defendant Audette specifically stated in February 2016 that “assets, both brokerage
       11 and advisory, are the key driver of our gross profit.” For example, advisory and
       12 brokerage assets drove approximately 79% of LPL’s total net revenue and gross profit
       13 for the nine months ended September 30, 2015.
       14            85.   In LPL’s investor presentation on December 8, 2015, the Company stated
       15 that “[b]rokerage and advisory assets [AUM] rebounded with equity markets” and
       16 “LPL’s steady asset growth has driven topline performance.” The Company provided
       17 bar charts showing that brokerage and advisory assets combined and the Company’s
       18 gross profit have each been growing at an “8% CAGR [compounded annual growth
       19 rate]” from 2010 through 3Q15.
       20            86.   Defendant Audette also told investors that although the “markets went
       21 down a fair bit,” he added, “we’re up at the end of October [2015] to $483 billion
       22 [AUM] versus $462 billion at the end of the [third] quarter [of 2015] . . . .” But this
       23 statement regarding LPL’s levels of AUM was materially misleading and/or
       24 overstated when made because LPL’s AUM was actually about $3 billion less (about
       25 14% of the represented increase) based on LPL’s realized correlation between AUM
       26 and the market, and therefore AUM was already negatively impacted by undisclosed
       27 factors unrelated to the markets.
       28

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            1         87.   Since 2013, LPL had consistently disclosed to investors that asset growth
            2 had a 60% correlation to market fluctuations.16 LPL’s statements above concerning
            3 continued correlation to and “rebound” to the market at the end of October 2015,
            4 relative to the reported $483 billion AUM, were misleading when made because
            5 LPL’s management failed to disclose that by the December 8, 2015 presentation,
            6 LPL’s AUM were performing substantially below expectations relative to market
            7 levels (i.e., the S&P 500 Index). For example, while the S&P Index rose 8.3% in the
            8 month of October 2015, LPL’s AUM actually rose only 4.6% from $461.8 billion to
            9 $483 billion, a 55% correlation to the S&P 500 Index, even though the Company
       10 contemporaneously claimed good asset growth, including the statement “net new
       11 advisory assets continue to flow in well.”
       12             88.   In November and December, LPL AUM growth performed far worse
       13 than the 55% correlation for October relative to the S&P 500 Index. That is, for the
       14 entire 4Q15, while the S&P 500 Index rose 6.45% in 4Q15, LPL’s advisory and
       15 brokerage assets rose only 3.0%, a weak 47% correlation with the S&P 500 Index.
       16 LPL’s omission regarding the declining growth rate of AUM relative to the market
       17 through December 8, 2015 was particularly misleading in light of LPL’s statement
       18 that “brokerage and advisory assets [AUM] rebounded with equity markets,” and,
       19 further, that “LPL views growth of assets and gross profits as more representative of
       20 its business growth than revenue growth.” Telling of the divergence from historical
       21 performance, LPL ceased disclosing after 3Q15 the claimed 60% correlation between
       22 AUM performance and market fluctuations.
       23             89.   Based upon the following analyses, it is apparent that AUM was
       24 overstated at the end of November by several billion dollars:
       25
       26
       27       16
                   LPL Forms 10-Q and Form 10-K issued for reporting periods beginning January 1,
                2013 through September 30, 2015 reported 60% correlation to market fluctuations.
       28

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            1                                                                           4Q15
                                    AUM            S&P 500           AUM/S&P          Correlation
            2                     ($billions)    Closing Levels      Correlation
                                                                                      ($billions)
            3 End. Sept-15         $462.0            1920.03
            4 Oct Increase       $21.0/4.54%      159.33/8.30%          54.7%
              End. Oct-15          $483.0            2079.36                             $480.0
            5
              Nov                $0.1/0.03%        1.05/0.05%           54.7%
                      17
            6 Increase
            7 End. Nov-15           $483.1           2080.41                             $480.0
            8 Dec Decrease      ($7.1)/(1.47%) (36.47)/(1.75%)          84.0%
              End. Dec-15           $476.0           2043.94                             $476.0
            9
       10
                End. 3Q15           $462.0           1920.03
       11
                Increase         $14.0/3.03%      123.91/6.45%          47.0%
       12
          End. 4Q15       $476.0          2043.94
       13       90. When Defendant Audette spoke in early December 2015, he represented
       14 that LPL had $483 billion AUM at the end of October and connected the $21 billion
       15 increase that month to good market correlation. Based on Audette’s December
       16 statements, there were no indications of material changes in November, and since the
       17 S&P 500 Index levels were essentially unchanged, with good market correlation,
       18 investors would have reason to believe that the AUM balances also remained in the
       19 $483 billion range at the end of November 2015.
       20            91.    However, those representations could only be true if there was suddenly a
       21 negative 84% correlation in December 2015 between LPL AUM balances and the
       22 S&P 500 Index levels. This spike in negative correlation between LPL’s AUM and
       23 the S&P 500 Index could not have occurred in December 2015 under several analyses.
       24 Before 4Q15, LPL had consistently represented since 2013 that the correlation to
       25 market fluctuations was 60%. Further, a 55% market correlation during market
       26
          17
             Implied in Defendant Audette’s statements on the December 8, 2015 conference
       27 call, November 2015 was the same correlation as October, and within the range of
          correlation previously disclosed by LPL.
       28

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            1 increases, but 84% market correlation during market decreases, for the same group of
            2 assets in customer accounts, is inexplicable. Additionally, as explained above, no
            3 advisors (and therefore no associated AUM) departed LPL in December 2015, thus
            4 the explanation for the dramatic decline in December AUM cannot be attributed to a
            5 mass exodus of advisors in December.
            6        92.   Using the 47% market correlation observed for 4Q15 for each of the
            7 months in 4Q15, the above analysis reveals that LPL’s AUM was overstated by
            8 several billion dollars at the end of October and/or November, and Defendant Audette
            9 had failed to disclose the material fact that LPL’s AUM declined at the end of
       10 November by several billion dollars for reasons unrelated to market movements. This
       11 material overstatement of AUM is likewise consistent with the allegations above that
       12 net new advisory assets were overstated for the two months ended November 2015 by
       13 approximately $1 billion. That is, in 4Q15, advisory assets were about 39% of total
       14 brokerage and advisory assets. Thus, 39% of a $3 billion overstatement of AUM in
       15 October – November 2015 would equate to approximately a $1.2 billion
       16 overstatement of advisory assets in the same period, consistent with the allegations in
       17 ¶¶70-83, above.
       18            93.   Similarly, Defendant Casady falsely stated that with respect to assets,
       19 “fundamentally, this year [FY 2015] is like any other in terms of the gross amount [of
       20 advisors] and what’s different is that we do have the smaller producers leaving.”
       21 Defendant Casady’s statements were knowingly false and misleading when made
       22 because Defendants knew from notices LPL had received from departing advisors,
       23 and the negotiations between LPL and the departing advisors that preceded those
       24 notices, that the gross amount of both advisors and their AUM was accelerating and
       25 that larger producers were leaving as compared to the previous two years. That is,
       26 Defendant Casady’s statement that it was only “smaller producers leaving” is
       27 demonstrably false because, in fact, bigger producers were leaving with the average
       28

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            1 AUM sizes of departing advisors having grown as compared to the prior two years (as
            2 reported by InvestmentNews.com):
            3                             Advisor Firms            Related AUM          Avg. AUM
                        Year
                                          Leaving LPL              Leaving LPL         per Advisor
            4
                       2013                     9                  $1.215 billion      $135 million
            5          2014                    14                   1.534 billion       110 million
            6    Jan – Nov 201518              20                   3.262 billion       163 million

            7
                      94.      Given the changing mix of revenue components (brokerage vs. advisory),
            8
                the Company’s increasing need to show demonstratively growing advisory assets and
            9
                related revenues to counterbalance declining brokerage revenues, and the rate at which
       10
                LPL was losing advisors and related large AUM accounts, investors were surprised to
       11
                learn during 4Q15 that the level of AUM had fallen substantially short of
       12
                expectations, with exceptionally slow growth relative to the S&P 500 Index.
       13
                Financial analysts were disappointed with LPL’s $475.6 billion reported AUM as of
       14
                4Q15 and UBS and S&P Capital IQ specifically cited this key business metric as a
       15
                reason for the substantial drop in LPL’s stock price following the Company’s
       16
                announcement of 4Q15 results: (i) “[C]lient assets missed expectations”; and (ii) “We
       17
                cut our 12-month target [stock] price [for LPL common stock] by $30 to $21 [per
       18
                share], [or] 11.1X our ‘16 [2016] EPS estimate of $1.89 [per share], cut from $2.71
       19
                [per share], a discount to its two-year average P/E [price earnings multiple] of 17X . . .
       20
                due to lower AUM [assets under management, or advisory and brokerage assets],
       21
                which [the] company expects will pressure gross profits in ‘16.” Similarly, Credit
       22
                Suisse emphasized that the “well below expectations” earnings miss was driven by
       23
                “weaker gross profits . . . characterized by a pull-back in brokerages sales, [and] weak
       24
                advisor growth trends.”
       25
       26
                18
              In the month of October 2015, the AUM of advisors departing LPL for competitors
       27 totaled a whopping $749 million for one month, whereas the previous two months
          (August and September 2015) totaled $209 million.
       28

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            1         DEFENDANTS’ STATEMENTS CONCERNING LPL’S “STEADY”
                      EARNINGS AND THAT LPL WAS “EXECUTING IT ALL WELL”
            2               WERE FALSE AND MISLEADING WHEN MADE
            3           95.   Defendants’ failure to disclose LPL’s weak fourth quarter AUM
            4 performance was particularly important because LPL’s “assets under management” or
            5 “AUM” was viewed as a primary driver of the Company’s gross profits. As
            6 Defendant Audette would state in February 2016, “Assets, both brokerage and
            7 advisory, are the key driver of our gross profit.” And LPL’s gross profit is primarily
            8 driven by net revenue.19 Together, advisory and brokerage assets drove approximately
            9 79% of LPL’s total net revenue and gross profit for the nine months ended September
       10 30, 2015.20
       11               96.   Total commission revenue was LPL’s most important source of revenue
       12 and gross profit in 2015.21 Defendants knew by their December 8, 2015 conference
       13 call, that LPL’s gross profit was declining substantially in 4Q15, primarily as a result
       14 of falling commission revenue, and in particular decreases in sales-based activity for
       15 alternative investments, equities, mutual funds, fixed income, and variable annuities,
       16 which are subsets of total commission revenues.22 As a result, in 4Q15, LPL’s gross
       17
       18
       19
          19
             As set forth in LPL’s SEC filings, LPL’s brokerage asset levels are one of the
       20 primary drivers of LPL’s commission revenue, LPL’s most important source of
          revenue, representing 47% of LPL’s total net revenue for the nine months ended
       21 September 30, 2015. LPL’s advisory asset levels are the primary driver of LPL’s
          advisory revenue, LPL’s second most important source of revenue, representing 32%
       22 of LPL’s total net revenue for the nine months ended September 30, 2015. For the
          nine months ended September 30, 2015, gross profit was 31.8% of net revenue.
       23
          20
             LPL’s SEC filings explain, “Gross profit is calculated as net revenues less
       24 production expenses. Production expenses consist of the following expense categories
          from our consolidated statements of income: (i) commission and advisory and (ii)
       25 brokerage, clearing, and exchange.”
       26       21
                    See 3Q15 Form 10-Q for period ended September 30, 2015, filed October 29, 2015
                at 22.
       27
                22
                     See LPL 2015 Form 10-K, filed February 25, 2016 at 44.
       28

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            1 profit declined 5.1% from $339.8 million in 3Q15 to $322.4 million in 4Q15, the
            2 Company’s worst sequential gross profit decline in four years.23
            3        97.   Defendant Audette also falsely reassured investors on the December 8,
            4 2015 conference call that commission revenue would be “more of the same [$480.3
            5 million] that we saw in the third quarter [3Q15],” when Defendants knew or were
            6 reckless in not knowing that commission revenue was already falling below those
            7 stated figures. Commission revenues for 4Q15 would be reported at $463.5 million,
            8 3.5% below the “more of the same” $480 million reported in 3Q15.
            9        98.   At the time that Defendants made these statements, however, they knew,
       10 or were reckless in not knowing, that LPL’s commission revenue had already
       11 plummeted via real-time visibility into the Company’s commission revenue through
       12 December 8, 2015. Defendants had actual or constructive knowledge of the extent of
       13 deterioration of 4Q15 commission revenues as of the December 8, 2015 conference
       14 call because they received regular reports and had access to “24/7” real-time data
       15 about LPL’s commission revenues and brokerage assets to date. See ¶¶150-153,
       16 supra.
       17            99.   Defendants received regular reports and had access to virtual real-time
       18 data about LPL’s commission revenues and brokerage assets by the time of their
       19 December 8, 2015 conference call as evidenced by LPL’s detailed online and monthly
       20 statements issued to all of its individual LPL account holders that includes the very
       21 same data, but on an individual account basis. For example, Defendants could see via
       22 their “24/7” the amounts of deteriorating “Alt. Inv.” levels and associated revenues.
       23 See ¶53, supra. If LPL could issue both online and monthly brokerage statements and
       24 make them available online within only two calendar days of the close of any given
       25 month, then Defendants surely had access to – and knew – the very same
       26
          23
             Also in 4Q15, LPL’s gross profit declined 3.9% year-over-year, from $335.4
       27 million in 4Q14 to $322.4 million in 4Q15, the Company’s worst year-over-year gross
          profit decline in four years.
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            1 contemporaneous information on a consolidated basis, reflecting total brokerage assets
            2 under management as well as total fees charged to LPL account holders; that is, the
            3 current earned commission revenue.
            4        100. As noted in the excerpt below from LPL’s “Guide to Your Monthly
            5 Statement,” LPL also provided timely information about each LPL client’s account in
            6 monthly statements prepared by LPL, including the client’s monthly fees and
            7 expenses, which includes commission revenue for the months shown. (Fees and
            8 expenses were $415.25 and $575.58 for the months ended July 31, 2010 and August
            9 31, 2010, respectively, in LPL’s example below). Those monthly statements also
       10 included the client’s current amount of brokerage assets and their change from the
       11 prior month.
       12
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            1         101. For the first three quarters of 2015, LPL’s reports reflected that
            2 commission revenues were consistently 0.17% of brokerage assets in each of the three
            3 quarters. Audette’ s statement intra-quarter on December 8, 2015 that 4Q15 was
            4 “more of the same” was untrue on that date because, by that date, commission
            5 revenues as a percentage of brokerage assets had fallen to less than 0.17%.
            6         102. The 4Q15 decline in commission revenues was known or knowable on
            7 December 8, 2015 because the decline in commission revenues did not suddenly
            8 materialize after the December 8, 2015 conference call. Based on Audette’s statement
            9 that commission revenues would be “more of the same” as previously reported, and
       10 that previously-reported commission revenues were 0.17% of brokerage assets in
       11 October and November 2015, then mathematically commission revenues would have
       12 needed to be 0.14% on December 2015 – well below previous reporting periods – to
       13 reach $463 million reported commission revenues in 4Q15.24
       14             103. Through LPL’s information systems that provided revenue breakdowns
       15 by the types of investments, Defendants knew by December 8, 2015 that the
       16 substantial decline in commission revenue in 4Q15 had already occurred and was
       17 primarily attributable to decreases in sales-based activity for alternative investments,
       18 equities, mutual funds, fixed income, and variable annuities. In particular, revenues
       19 from alternative investments and equities declined sequentially by 37.6% and 12.3%,
       20 respectively, from 3Q15 to 4Q15. In fact, alternative investment revenue (including
       21 investment categories in which LPL had paid substantial regulatory fines, settlements
       22 and penalties) would drop a staggering $47.1 million or 74% year-over-year in 4Q15,
       23 from $63.4 million in 4Q14 to $16.3 million in 4Q15.
       24             104. This decrease was particularly significant because alternative investment
       25 products were particularly lucrative for LPL and had recently been the focus of
       26 regulators and Company reforms.               The dramatic downturn thus signaled a
       27       24
                   Commission revenues as a percentage of brokerage assets were 0.18% in each
                quarter of 2014; 0.17% in each of the first three quarters of 2015; and 0.16% in 4Q15.
       28

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            1 fundamental change in certain of the Company’s major revenue streams, a fact
            2 confirmed by an acceleration in the decline of LPL’s alternative investment revenues
            3 in the first quarter of 2016, which dropped nearly 87% to $7.8 million in 1Q16, a
            4 greater than 50% sequential decline from 4Q15’s already abysmal results.
            5        105. Financial analysts from William Blair cited in a February 12, 2016 report,
            6 declines in alternative investments as a major cause of the 4Q15 gross profit decline:
            7              Alternative investment commissions (largely non-traded REITs
                            [Real Estate Investment Trusts]) were down 38% sequentially and
            8
                            likely will continue to decline from here due to where we are in
            9               the real estate cycle, new FINRA [Financial Industry Regulatory
       10                   Authority] disclosure rules, and the upcoming DOL [Department
                            of Labor] fiduciary standard rule.
       11
                                                  *      *     *
       12
                     LPL reported fourth-quarter adjusted EPS of $0.37, $0.14 below
       13            consensus as well as our estimate. Gross profit of $322 million was $12
                     million below our estimate ($0.07 EPS impact) due to a combination of
       14            items but particularly alternative lower investment revenues.
       15            106. Wells Fargo also noted the declining commissions, finding “all in all it
       16 was a very challenging quarter with revenue down over 7% year-after-year including
       17 commissions that were down 12% year-after-year.”
       18            107. Defendants later acknowledged, for example, that “[a]lternative
       19 investment sales commissions were challenged throughout the year, in particular non-
       20 traded real estate investment trusts (REITs), due to a maturing real estate cycle and
       21 uncertainties regarding upcoming regulatory changes.” Further, the category was a
       22 particular focus of LPL management given the regulatory settlements, fines and
       23 penalties and efforts to reform Company practices in alternative investment products
       24 in 2015.
       25            108. LPL’s $464 million reported 4Q15 commission revenue represented a
       26 $26 million or 5.3% shortfall from LPL’s expected level of $490 million commission
       27 revenue for 4Q15, based on 2Q15 and 3Q15 rates of return on brokerage assets. This
       28 $26 million shortfall was the same amount as LPL’s miss of the Wall Street consensus

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            1 estimate for 4Q15 total net revenue. LPL’s reported total net revenue for 4Q15 was
            2 $1.02 billion, or $26 million less than the Wall Street consensus estimate of $1.046
            3 billion for 4Q15 total net revenue. Consequently, essentially all of LPL’s $26 million
            4 total net revenue shortfall in 4Q15 was attributable to LPL’s commission revenue
            5 shortfall.
            6 DEFENDANTS’ STATEMENTS REASSURING INVESTORS THAT LPL
              WAS POSITIONED TO GENERATE STRONG EARNINGS WERE FALSE
            7               AND MISLEADING WHEN MADE
            8        109. As Defendant Audette noted during the December 8, 2015 conference
            9 call, “EBITDA is a general proxy [for] the amount of cash we generate [and it’s] the
       10 primary driver of the amount of debt we’re allowed to have.”
       11            110. By representing that LPL had the ability to generate cash to service debt
       12 that would fund the buy-back plan, Defendants misled investors into believing that the
       13 Company’s earnings would be strong enough to carry substantial debt loads going
       14 forward. Defendant Casady told investors that LPL “can easily fit [new acquisitions]
       15 into this structure even if the full buyback were completed . . . [s]o, if something
       16 bigger [i.e., a new investment opportunity] came along on the M&A [merger and
       17 acquisition] front, again, we should be able to do that without a problem.” Defendant
       18 Casady also reiterated that the share repurchase would be “the best use” of Company
       19 capital because of LPL’s then-current share “price,” stressing that “we can buy our
       20 own stock at 8-to-9 times EBITDA” which was purportedly better than what was
       21 “available to us in the M&A market [which] appears to be more like 10-, 12-, 14-
       22 times EBITDA.” “So it’s just price. . . . And, quite simply, I think it’s a question of
       23 allocation of capital, the best use.”
       24            111. When investors ultimately learned LPL’s actual disappointing FY 2015
       25 EBITDA, they recognized that LPL’s earnings stream was not supported and that
       26 LPL’s financial condition was worse than Defendants conveyed in their December 8,
       27 2015 conference call. As earnings fell, leverage ratios rose, jeopardizing LPL’s
       28 compliance with its debt covenants. As UBS analysts noted:

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            1          [B]uybacks were outsized in the 4Q[15] and so far in the 1Q[16], they
                       will likely slow from here as the company is closing in on its debt
            2          covenants and management acknowledges the dire outlook.
            3 Additionally, Wells Fargo analysts later noted:
            4          Leverage will likely limit buybacks – . . . The company maintains nearly
                       $250MM on its existing buyback authorization but, given elevated
            5          leverage levels, we don’t expect much in the way of repurchases going
                       forward. We calculate [LPL] could begin to run up against its debt
            6          covenant of 5x net debt to EBITDA with another 15% decline in
                       EBITDA from the 4Q[15] level. Accordingly, further material declines
            7          in EBITDA could result in excess cash flow going to debt reduction, in
                       our view.
            8
                       112. Moreover, Defendants knew that, with only 23 days remaining before the
            9
                close of FY 2015, the $43.27 per-share price for the LPL stock buyback (with an
       10
                implied market capitalization of $4.11 billion) announced December 10, 2015 was
       11
                vastly inflated. Defendants knew that LPL’s reported 4Q15 and FY 2015 EBITDA,
       12
                EPS, gross profit, and total net revenue were going to be substantially below
       13
                expectations, and that FY 2016 results were likely to be weaker as well. Defendants
       14
                also knew as of their December 8, 2015 conference call (while they were in the
       15
                process of executing the stock buyback at an inflated price), that when 4Q15 and FY
       16
                2015 results were announced on February 11, 2016, LPL’s stock price would likely
       17
                fall substantially.
       18
                                      ADDITIONAL INDICIA OF SCIENTER
       19
                       113. In addition to the facts alleged herein and throughout, the following facts
       20
                provide additional indicia of scienter: (i) the Individual Defendants were beholden to
       21
                TPG; (ii) the misrepresentations involved LPL’s near quarter-end core operations for
       22
                which Defendants had real-time “24/7” data access and related reporting; (iii) the
       23
                magnitude of the financial disappointment contrasted with Defendants’ misstatements;
       24
                (iv) Defendants’ purported reasons for the miss are demonstrably false; (v) TPG had
       25
                access to adverse inside information about LPL’s fourth quarter financial results,
       26
                business and prospects; and (vi) the suspect timing of the share repurchase.
       27
       28

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            1 The Individual Defendants Are Beholden to TPG
            2            114. Private equity firm TPG has long had control over LPL’s business and
            3 affairs and substantial influence over the Company’s management. TPG, along with
            4 private equity partner Hellman & Friedman, took LPL private in 2005 in a deal that
            5 valued the Company at $2.5 billion. After it took private control of the Company,
            6 TPG elevated Defendant Casady to his current position as CEO and Chairman. For
            7 five years, Defendant Casady oversaw TPG’s multi-hundred million dollar investment
            8 in LPL as the Company’s CEO and Chairman, and in this capacity worked closely
            9 with TPG personnel. From 2006-2009, Defendant Casady earned over $10 million in
       10 compensation in his positions at LPL under TPG control and influence.
       11                115. TPG took LPL public in 2010, vaulting Defendant Casady into the ranks
       12 of the ultra-wealthy. Defendant Casady sold more than $58 million worth of his
       13 personal LPL shares in the IPO. TPG also ensured that Defendant Casady remained
       14 as LPL’s CEO and Chairman, providing him with an employment agreement that
       15 lasted through February 2014. As part of this agreement, LPL was required to take
       16 steps to ensure Defendant Casady was elected to the board and remained its chairman.
       17 The agreement also provided a generous severance provision that would require LPL
       18 to provide Defendant Casady with nearly $90 million in severance and stock options if
       19 he was terminated without cause. Between 2010 and 2015, Defendant Casady made
       20 over $119 million as LPL’s Chairman and CEO – positions he owed to TPG’s
       21 oversight, influence and control over the Company:
       22
                                              2015         2014           2013           2012          2011          2010          Totals
       23       Insider Sales Proceeds    $          0    $        0      $       0    $23,452,413    $ 600,000    $64,467,480   $ 88,519,893
                               Salary         900,000         885,479      800,000        800,000       800,000       800,000       4,985,479
       24              Option Awards      3,519,400       3,079,998      2,799,991       2,800,000             -     2,677,905     14,877,294
                Non-Equity Incentive
       25                    Comp.
                                          1,237,500       1,485,000      2,500,000       1,000,000    2,091,625      2,225,000     10,539,125

       26                Other Comp.           52,475          71,440         48,842       57,553        47,673        39,820        317,803
                                         $ 5,709,375     $ 5,521,917    $ 6,148,833    $28,109,966   $ 3,539,298   $70,210,205   $119,239,594
       27
       28

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            1        116. TPG took an activist, hands-on approach through its control of LPL,
            2 particularly through TPG’s control of LPL CEO and Chairman, Defendant Casady.
            3 As TPG partner and LPL director Schifter put it in a press release dated October 27,
            4 2005, “We look forward to working closely with Mark Casady and the rest of his team
            5 in the coming years to strengthen and build upon the leading position that LPL and its
            6 advisors hold in the industry.” Likewise, in an interview with TPG partner and LPL
            7 director Boyce, published September 26, 2012, Boyce said that with LPL he played a
            8 “governance role, a strategy role,” as well as providing “support and operational
            9 issues.” As further evidence of the direct correlation between TPG’s control of LPL
       10 Casady’s senior executive role in connection with that control, soon after TPG’s LPL
       11 beneficial ownership level fell below 5% in 2016, LPL announced Defendant
       12 Casady’s “retirement” effective March 2017.
       13            117. Following the 2010 IPO, TPG continued to control LPL’s business and
       14 affairs and maintained substantial influence over its management. TPG continued to
       15 own more than 30% of LPL’s common stock, the most of any investor after Hellman
       16 & Friedman exited its position in 2013. TPG also appointed two directors to LPL’s
       17 board, Richard Boyce and Richard Schifter – both TPG partners when appointed – and
       18 maintained additional governance rights over LPL’s board and board committees.
       19 Boyce served on LPL’s compensation committee, and Schifter served on LPL’s
       20 nominating and governance committee. In addition, TPG received “information
       21 rights” allowing it access to the same information as board members, the right to
       22 inspect the books and records of the Company, and access to LPL officers for real-
       23 time information regarding the Company’s business and prospects, among other
       24 information rights. TPG also continued to receive millions of dollars in fees from
       25 LPL in exchange for various consulting services.
       26            118. As part of the influence and control over LPL, TPG ensured its position
       27 would not change by demanding significant amendments to the Stockholder
       28 Agreement in September 2014 to provide it with enhance governance and control

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            1 rights even if TPG’s share ownership of the Company substantially diminished.
            2 These changes were necessary to ensure TPG’s control after it reduced its stake in
            3 LPL during the 2012-2014 time period. As stated in LPL’s SEC filings, TPG retained
            4 “significant influence over corporate transactions” and the ability “to effectively
            5 control LPL’s decisions,” and that TPG had interests that may differ from other
            6 shareholders and may even take actions in service of those interests against the
            7 interests of other shareholders.
            8        119. Similarly, Defendant Audette was hired as LPL’s CFO in September
            9 2015, while TPG maintained substantial influence over the Company and its
       10 management and Board. In connection with LPL’s recruitment of, and negotiations
       11 with Defendant Audette, he was awarded 2015 equity awards and cash bonus awards.
       12 Under LPL governance policies and practices, the LPL Compensation Committee
       13 (that included Compensation Committee member and TPG former partner Boyce),
       14 had responsibility for the issuance of these awards to Defendant Audette. Pursuant to
       15 the terms of his employment offer letter, in connection with his commencement of
       16 employment, Defendant Audette was granted 17,605 RSUs and 17,605 stock options
       17 with an exercise price of $42.60, the closing price of LPL shares on October 30, 2015.
       18 Defendant Audette’s base salary for 2015 was $600,000 and he was awarded a bonus
       19 of at least $250,000.
       20            120. Further, in early 2016 the Compensation Committee established long-
       21 term incentive awards for both Defendant Casady ($3.15 million) and Defendant
       22 Audette ($1.05 million). These awards are not based on LPL performance, but are
       23 designed to reward the executive based on the executives’ individual performance in
       24 2015 and other retention considerations. Based on these factors, the Compensation
       25 Committee (of which TPG former partner Boyce was then a member) awarded both
       26 Defendants Casady and Audette 100% of the targeted awards.
       27            121. Just before the beginning of the Class Period, in early October 2015,
       28 Defendant Casady’s tenure as Chairman and CEO of LPL was “attracting a lot of

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            1 conjecture” and it was publicly reported that his “glory days” were behind him. Given
            2 the long history of TPG’s control over LPL, Defendant Casady was well aware that
            3 his livelihood lay primarily in TPG’s hands. Similarly, Defendant Audette knew that
            4 TPG would have influence over Audette’s continued employment and the amount of
            5 his compensation.
            6        122. Thus, it is no coincidence that in late 2015, as news was circulating that
            7 Defendant Casady may be in jeopardy of losing his job, and with yearly evaluations of
            8 the Individual Defendants in the hands of the Board, that TPG was able to push
            9 through an early termination of the accelerated share repurchase program in order to
       10 cash out its own LPL shareholdings at a time when LPL’s stock price was historically
       11 high. The Individual Defendants were beholden to TPG and had a compelling
       12 incentive not to provide a full picture of LPL’s disastrous fourth quarter results during
       13 the December 8, 2015 conference call, as Defendants knew or should have known the
       14 truth would almost certainly diminish TPG’s insider selling proceeds by tens of
       15 millions of dollars.
       16 The Misrepresentations Involved LPL’s Core Operations,
          Based on Contemporaneous Data Available to and Reviewed
       17 by Senior Management, and Occurred Near Quarter End
       18            123. LPL’s gross profits, net new advisory assets, alternative investment
       19 revenues and its level of brokerage and advisory assets were key financial metrics that
       20 were closely followed by the Company, its management and the market. Analysts
       21 reported on and followed these metrics, and investors viewed them as primary
       22 indicators of the Company’s future expected earnings.
       23            124. Additionally, Defendants Casady and Audette had clear visibility into the
       24 Company’s financial performance at the time they spoke to the investment community
       25 on December 8, 2015. For example, Defendant Audette mentioned several times on
       26 the December 8 teleconference that had insight into the “last two months” (i.e.,
       27 October and November 2015), and Defendant Casady later admitted that “certainly we
       28 had insight” (during the share repurchase and concurrent teleconference) into 4Q15.

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            1 Thus, Defendant Audette spoke in the present tense such that his statements were
            2 commenting on LPL’s current performance as of the date of the call. An LPL analyst
            3 also stated that LPL senior management had a “good line of sight” into intra-quarter
            4 results. Metrics such as net new advisory assets were tracked continually, and no later
            5 than monthly, as were earnings and revenues, if not even more often on a weekly or
            6 daily basis. By the December 8, 2015 investor call, materially adverse trends in
            7 LPL’s key metrics were known to LPL insiders: (i) LPL’s growth of net new advisory
            8 assets had materially slowed from a monthly average of $1.5 billion per month to a
            9 rate approximating $1.0 billion per month and for the two months ended November
       10 2015, was overstated by approximately $1 billion; (ii) Defendants were experiencing,
       11 in October and November 2015, extraordinarily poor correlation (below 50%)
       12 between growth of LPL’s AUM relative to equity market movements, indicating that
       13 LPL’s AUM levels were being negatively impacted by billions of dollars for factors
       14 other than market movements; (iii) Defendants were experiencing a severe reduction
       15 in the sale of high-commission alternative investments (such as structured products).
       16            125. Further, the majority of LPL’s revenue streams were recurring and fall
       17 into two categories: commission revenues and advisory revenues. For fiscal 2015,
       18 commission revenues and advisory revenues generated 46% and 32%, respectively, of
       19 LPL’s total net revenues. Commission revenues derive from upfront advisor fees and
       20 commissions for investment products and, for certain products, a trailing commission.
       21 Advisory revenues derive from fee-based advisory platforms and the provision of
       22 ongoing investment advisory services. For fiscal 2015, 72% of LPL’s revenue was
       23 recurring in nature, providing the Company substantial visibility into its future
       24 revenue streams. In addition, for transaction-based commissions, the Company
       25 generates revenues “at the point of sale,” providing the Company with further
       26 visibility into its commission-based revenues at a given point in time. Further, the
       27 Company’s alternative investment revenues were a particular focus at the time in light
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            1 of LPL’s recent spate of regulatory problems and reforms regarding this revenue
            2 source.
            3        126. By the time of the December 8, 2015 conference call, approximately 10
            4 out of 13 weeks for LPL’s fiscal fourth quarter had already occurred. To prepare for
            5 the investor conference, Defendants consulted LPL’s real time “24/7” account data
            6 system that aggregated LPL’s most key performance measures. Those reports showed
            7 that LPL’s key metrics were underperforming as alleged herein. As a result,
            8 Defendants had substantial knowledge as to the Company’s fourth quarter
            9 performance and visibility into the remainder of the quarter. For example, Defendant
       10 Audette made clear that his visibility into LPL’s performance was for “the last two
       11 months” (October and November 2015). Later, in response to an analyst statement
       12 that LPL had a “pretty good line of sight” into its fourth quarter results, Defendant
       13 Casady would admit that he and the rest of management “certainly, we had insight
       14 into the quarter” and “knew we’d have challenges.”
       15            127. Thus, with only three weeks left in the quarter, Defendants knew their
       16 statements regarding LPL’s key financial metrics were false and misleading when
       17 made, especially given the centrality of the metrics at issue to LPL’s core operations
       18 and importance to the market.
       19 The Magnitude of LPL’s Financial Disappointment in Contrast to
          Defendants’ Misrepresentations
       20
                 128. The magnitude of Defendants’ misrepresentations provides further
       21
          indicia of scienter. For example, Defendants’ December 8 statements that LPL was
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          averaging $1.5 billion in net new advisory assets per month during the fourth quarter
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          implied a quarterly figure more than 45% greater than the $3.1 billion in net new
       24
          advisory assets LPL actually achieved during the quarter. Similarly, Defendants’
       25
          representation that commission revenue in 4Q15 would be “more of the same” as
       26
          LPL’s 3Q15 results was far from the truth. In fact, the Company’s fourth quarter
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          alternative investment revenue declined 74% year-over-year, contributing to an
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            1 approximately $26 million commission revenue shortfall. The magnitude of this miss
            2 was particularly significant because it occurred in formerly lucrative alternative
            3 investment products that had been the focus of regulatory scrutiny and Company
            4 reform in preceding quarters. Consequently, the dramatic downturn in LPL’s
            5 alternative investment revenues signaled a fundamental shift in LPL’s primary
            6 revenue sources that would adversely impact the Company’s ability to generate profits
            7 and cash flows going forward. Indeed, 4Q15 represented the Company’s worst
            8 sequential profit decline in four years.
            9        129. Defendants did not make minor errors, but substantial misrepresentations
       10 of their core financial metrics. As Defendants were aware, analysts and investors paid
       11 close attention to these metrics and used them to assess the Company’s expected
       12 future cash flows and evaluate the price of LPL stock. Thus, on December 8, when
       13 Defendants reaffirmed the purported benefits of the share repurchase plan and stated
       14 that the Company’s capital plan was in shareholders’ “best interest” and indicative of
       15 “an earnings stream that is quite steady and produces cash flow over time” these
       16 statements were diametrically opposed to reality. At the time, Defendants knew that
       17 TPG would use the accelerated share repurchase plan to cash out at well above $40
       18 per share – close to a two-year share price high and more than double the share price
       19 after the truth was revealed in February 2016 – and thus that the buyback would result
       20 in a wasteful and inefficient use of Company capital in order to benefit a favored and
       21 controlling insider.
       22            130. Only eight weeks after Defendants’ misrepresentations, it was disclosed
       23 that the quarter had actually ended with drastically different negative results. It defies
       24 belief that so many different aspects of LPL’s finances could have changed so
       25 drastically in the short amount of time between Defendants’ statements on December
       26 8, 2015 and the disclosure of the actual financial results, and that a controlling insider
       27 with access to internal Company information was able to coincidentally excise a
       28 substantial portion of its LPL shareholdings at exactly the right time.

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            1 Defendants’ Purported Reasons for the Miss Are Demonstrably False
            2        131. Defendant Casady’s unsupported excuse that it was simply a general
            3 unforeseen market decline that caused LPL’s poor 4Q15 results further shows his
            4 complicity in the scheme to mislead and defraud investors in order for TPG, to whom
            5 the Individual Defendants were beholden, to cash out at peak prices.
            6        132. Of six peer companies identified by LPL in its February 25, 2016 10-K
            7 filing, those peers beat Wall Street analyst earnings expectations by 5.5% on average
            8 for the fourth quarter of 2015. But, LPL missed by over 27% in comparison.
            9 Likewise, LPL’s peers on average suffered a 3.7% stock price decline following the
       10 release of their fourth quarter 2015 results using a ±1 trading day window. But LPL
       11 stock price declined by nearly 22% – almost seven times as much as its peers.
       12            133. The falsity of Casady’s excuse that LPL’s disastrous fourth quarter 2015
       13 results were due only to an unforeseen market downturn is further demonstrated by
       14 the fact that LPL’s earnings performance and corresponding stock price decline was
       15 substantially worse than the 16 comparable companies in the New York Stock
       16 Exchange ARCA securities broker dealer index. These companies on average for the
       17 fourth quarter 2015 beat Wall Street analysts’ earnings expectations by 3.8%, but LPL
       18 missed by over 27.3% in comparison. Likewise, these 16 comparable companies on
       19 average suffered a -.5% stock price decline following the release of fourth quarter
       20 2015 results using a ±1 trading day window. But LPL stock price dropped by 21.9% –
       21 over twenty times as much.
       22            134. Likewise, analysts from JMP Securities and Wells Fargo highlighted
       23 respectively that the 4Q15 results were also the result of “company-specific
       24 headwinds,” and “other [LPL specific] issues affecting results including a low level of
       25 net recruiting and ongoing declines in alternative investment sales.”
       26            135. LPL’s drastically worse fourth quarter performance and stock price
       27 decline in comparison to its market and industry peers shows that it was hardly a
       28 purported unforeseen general market downturn that caused LPL’s weak fourth quarter

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            1 results. That Defendant Casady could offer only a widespread unsupported excuse for
            2 LPL’s fourth quarter results further demonstrates Defendants’ complicity in deceiving
            3 investors.
            4 TPG Had Access to Insider Information
            5        136. TPG in its shareholder agreement with LPL also explicitly received “the
            6 right to obtain any reports, documents, information or other materials . . . which a
            7 member of the LPL Board has received or has the right to receive.” TPG also had the
            8 right to receive additional information regarding LPL’s business directly from the
            9 Company’s executive officers. Effectively, this meant that by virtue of the fact that
       10 TPG partners Boyce and Schifter served on LPL’s Board of Directors, TPG as an
       11 entity had the right at any time to access inside financial information regarding LPL’s
       12 financial results and prospects not available to other investors. This special access
       13 allowed TPG to have real-time visibility into LPL’s financial performance and have
       14 inside information upon which it could determine whether to trade or hold its LPL
       15 shares.
       16            137. The Board, on which TPG former partners Boyce and Schifter sat, met 10
       17 times in 2015. In addition, a special meeting of the Board was held to approve the
       18 early termination of the accelerated share repurchase program in order to allow TPG
       19 to sell its LPL shares back to the Company around the time of the December 8, 2015
       20 conference call. Because TPG retained the right to access any information shared
       21 with the Board, it would have had access to inside information regarding LPL’s
       22 unfavorable 4Q15 results at the time and a strong incentive to unload its shareholdings
       23 before the truth was disclosed to the market.
       24 The Highly Suspect Sequence of Events
       25            138. The highly suspect sequence of events makes clear that the timing of
       26 TPG’s sale of LPL stock at peak prices and the false and misleading nature of
       27 Defendants’ statements on the December 8, 2015 conference call were not
       28 coincidental.

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            1        139. LPL announced on October 29, 2015 that it would “maximize
            2 shareholder returns” by buying back $500 million worth of its own shares. This
            3 announcement had the desired effect of signaling the Company’s confidence in its
            4 business and forthcoming financial results which propelled the stock price over 10%
            5 in subsequent days.
            6        140. On November 24, 2015 LPL announced it had entered into an agreement
            7 with Goldman to carry out a $250 million accelerated share repurchase as part of the
            8 $500 million buyback. The Company, however, cautioned even the accelerated
            9 buyback would take “several months” to complete.
       10            141. However, behind the scenes by at least the beginning of December 2015,
       11 LPL’s financial results demonstrated that the Company would be facing a disastrous
       12 fourth quarter. With only a few weeks left until quarter end, the financial metrics used
       13 by the Company to measure its financial performance indicated abysmal results far
       14 below market expectations. At this time, TPG had the ability to influence and control
       15 LPL’s decisions even to the detriment of other shareholders and had access to internal
       16 financial information that would have shown a significant decline in LPL’s business.
       17 Indeed, LPL’s Board met ten times in 2015 and as discussed above, any information
       18 shared with Directors of the Board would automatically be made available to TPG as
       19 well.
       20            142. While LPL’s stock was then trading well above $40 per share (near a
       21 two-year high), TPG understood that once the market was made aware that LPL’s
       22 fourth quarter financial results would fall far short of Wall Street expectations, the
       23 stock price would decline substantially leading to massive losses in the value of
       24 TPG’s LPL stock portfolio.
       25            143. Thus, in late November or early December, and prior to December 8,
       26 2015, TPG approached Goldman to carry out the repurchase of more than 4 million
       27 shares while the stock was still trading at historically high levels.
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            1        144. Prior to the sale being publicly disclosed, on December 8, 2015, LPL
            2 provided investors with a near end-of-quarter financial update during which Casady
            3 and Audette falsely assured investors that the Company was performing as expected –
            4 hiding the Company’s true financial results and prospects. Following the statements
            5 made at the conference, LPL’s stock traded as high as $45.89 per share.
            6        145. Two days later, and contrary to LPL’s previous statement that the share
            7 repurchase program “will take several months to complete,” the Company announced
            8 that TPG had cashed out 4.3 million shares of its LPL common stock at $43.27 per
            9 share, comprising more than three quarters of the accelerated buyback, and that the
       10 entire $250 million accelerated share repurchase program had been completed in a
       11 matter of days. TPG was thus able to cash out at peak prices, and at the precise time
       12 that LPL’s internal results experienced adverse trends but before these results were
       13 disclosed to the market.
       14            146. The following chronology illustrates the fraud:
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       17        147. Thus, TPG’s access to LPL’s financial information, and its ability to
       18 control and influence LPL’s financial decisions, allowed it to dispose of
       19 approximately one-third of its stake in LPL at a historically high stock price,
       20 generating approximately $187 million in insider sales proceeds. If TPG had been
       21 forced to sell its shares after the fourth quarter results were disclosed, its insider
       22 trading proceeds would have been diminished by approximately $115 million.
       23        148. When TPG’s beneficial interest in LPL fell below 5% in 2016, LPL
       24 announced Defendant Casady’s “early retirement” permitting immediate vesting of
       25 Casady’s million-in-deferred compensation.
       26                      LOSS CAUSATION/ECONOMIC LOSS
       27        149. During the Class Period, as detailed herein, Defendants made false and
       28 misleading statements and omissions of material facts necessary to render those

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            1 statements not false and misleading, which artificially inflated the price of LPL
            2 common stock.
            3         150. As set forth in detail in ¶¶66-112, LPL’s false and misleading statements
            4 and omissions focused on LPL’s key business metrics such as net new advisory assets,
            5 brokerage and advisory assets, revenues and gross profits.
            6         151. Plaintiff and investors purchased LPL stock at inflated prices and
            7 suffered damages when the price of LPL stock declined upon the revelations of the
            8 truth in contrast to Defendants’ earlier misstatements. The timing and magnitude of
            9 LPL’s significant price decline negates any inference that the loss suffered by Plaintiff
       10 and other Class members was caused by changed market conditions, macroeconomic
       11 or industry factors or Company-specific facts unrelated to Defendants’ fraudulent
       12 conduct.
       13             152. On February 11, 2016, LPL announced its fourth quarter and full year
       14 2015 financial results and revealed the falsity of its December 8, 2015
       15 misrepresentations. LPL disclosed that gross profits had fallen 35% in the quarter and
       16 5% for the year and that it had generated only $0.37 per share in adjusted EPS, 27%
       17 below consensus analyst estimates of $0.51 per share. The Company further revealed
       18 that reported net new advisory assets for the fourth quarter were only $3.1 billion,
       19 $1.4 billion less than Defendants misled investors to believe on December 8, 2015.
       20 The Company also disclosed that the negative performance in LPL’s advisory and
       21 brokerage assets resulted in reported earnings being worse than expected – in contrast
       22 to their December 8, 2015 statements that advisory and brokerage assets had
       23 recovered and would trend upwards. Finally, LPL disclosed that in 4Q15, LPL’s
       24 gross profit declined 5.1% from $339.8 million in 3Q15 to $322.4 million in 4Q15,
       25 the Company’s worst sequential gross profit decline in four years, primarily as a result
       26 of falling commission revenues.
       27             153. Numerous analysts recognized the financial impact of this previously
       28 concealed information. William Blair highlighted that: (i) “[g]ross profit of $322

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            1 million was $12 million below our estimate ($0.07 EPS impact) due to a combination
            2 of items but particularly lower alternative investment revenues”; (ii) “[n]et new
            3 advisory assets totaled $3.1 billion in the quarter and $16.7 billion for the year”; and
            4 (iii) “[a]lternative investment commissions (largely non-traded REITs) were down
            5 38% sequentially and likely will continue to decline.” Wells Fargo stressed that “all
            6 in all it was a very challenging quarter with revenue down over 7% year-after-year
            7 including commissions that were down 12% year-after-year.”                Credit Suisse
            8 emphasized that the “well below expectations” earnings miss was driven by “weaker
            9 gross profits . . . characterized by a pull-back in brokerage sales, [and] weak advisor
       10 growth trends.”
       11            154. As a result of this news, the price of LPL common stock dropped nearly
       12 35% to close at $16.50 per share on unusually high trading volume of over 11.4
       13 million shares. Analysts from UBS described the results as “[u]gly” and JP Morgan
       14 noted a “lack of confidence in management,” and that “management looks bad here.”
       15 Indeed, Wells Fargo’s analysts expressed skepticism that LPL had no previous
       16 knowledge of the disappointing financial results, and noted the suspicious timing of
       17 the share repurchase from TPG:
       18            The follow-up I had really had to do with the buyback, and I know you
                     guys tend to have a pretty good line of sight in your business. And so I
       19            would imagine when you guys had some idea that the fourth quarter was
                     going to be pretty challenging.
       20
                     155. Defendant Casady rebuffed any suggestion of knowledge and attempted
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               to blame LPL’s poor results on an unforeseen market downturn. However, analysts
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               from JMP Securities and Wells Fargo highlighted respectively that the 4Q15 results
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               were also the result of “company-specific headwinds,” and “other [LPL specific]
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               issues affecting results including a low level of net recruiting and ongoing declines in
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               alternative investment sales.”
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            1        156. Casady’s attempt to blame LPL’s disastrous financial results on the
            2 general market downturn is belied by the fact that LPL’s results and stock price
            3 decline were drastically worse than its market and industry peers.
            4        157. Six quarterly reporting public companies LPL listed in its February 25,
            5 2016 10-K filing as its peers beat Wall Street analyst earnings expectations by 5.5%
            6 on average for the fourth quarter of 2015. But, LPL missed by over 27% in
            7 comparison:
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       23            158. Likewise, analyzing the earning release date of ±1 trading day, LPL’s
       24 peers on average suffered a 3.7% stock price decline following the release of their
       25 fourth quarter 2015 results. But LPL stock price declined by nearly 22% – almost
       26 seven times as much as its peers:
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       16        159. The fallacy of Casady’s excuse that LPL’s disastrous fourth quarter 2015
       17 results were due only to an unforeseen market downturn is further proven by the fact
       18 that LPL’s earnings performance and corresponding stock price decline was
       19 substantially worse than the 16 comparable companies in the New York Stock
       20 Exchange ARCA securities broker dealer index. These companies on average for the
       21 fourth quarter 2015 beat Wall Street analysts’ earnings expectations by 3.8%, but LPL
       22 missed by over 27% in comparison.
       23       160. Likewise, analyzing the earning release date of ±1 trading day, these 16
       24 comparable companies on average suffered a -.5% stock price decline following the
       25 release of fourth quarter 2015 results. But LPL stock price dropped by 21.9% – over
       26 twenty times as much:
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       15             161. As a result of Defendants’ false statements, LPL common stock traded at
       16 artificially inflated prices during the Class Period. However, when the previously
       17 concealed truth was finally disclosed to the market, the Company’s stock suffered
       18 massive sales, sending the price down 63% from its Class Period high and causing
       19 economic harm and damages to Plaintiff and Class Members.
       20       APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND FRAUD
                                     ON THE MARKET
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                      162. Plaintiff will rely upon the presumption of reliance established by the
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                fraud-on-the-market doctrine in that, among other things:
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                             (a)   Defendants made public misrepresentations or failed to disclose
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                material facts during the Class Period;
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                             (b)   The omissions and misrepresentations were material;
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                             (c)   The Company’s stock traded in an efficient market;
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            1               (d)   The misrepresentations alleged would tend to induce a reasonable
            2 investor to misjudge the value of the Company’s common stock; and
            3               (e)   Plaintiff and other members of the Class purchased LPL common
            4 stock between the time Defendants misrepresented or failed to disclose material facts
            5 and the time the true facts were disclosed, without knowledge of the misrepresented or
            6 omitted facts.
            7        163. At all relevant times, the market for LPL common stock was efficient for
            8 the following reasons, among others:
            9               (a)   LPL stock met the requirements for listing, and was listed and
       10 actively traded on the NASDAQ, a highly efficient and automated market;
       11                   (b)   As a regulated issuer, LPL filed periodic public reports with the
       12 SEC; and
       13                   (c)   LPL regularly communicated with public investors via established
       14 market communication mechanisms, including through regular disseminations of
       15 press releases on the major news wire services and through other wide-ranging public
       16 disclosures, such as communications with the financial press, securities analysts and
       17 other similar reporting services.
       18                                     NO SAFE HARBOR
       19            164. Defendants’ false and misleading statements during the Class Period
       20 described above at ¶¶66-112 were made in the present tense and discussing LPL’s
       21 then-current and historical performance and thus were not forward-looking statements
       22 (“FLS”) and/or identified as such by Defendants, and thus did not fall within any
       23 “Safe Harbor.”
       24            165. LPL did not issue verbal “Safe Harbor” warnings to accompany its oral
       25 FLS issued during the Class Period and, in any event, any warnings were ineffective
       26 to shield those statements from liability.
       27            166. Defendants are also liable for any false or misleading FLS pleaded
       28 because, at the time each FLS was made, the speaker knew the FLS was false or

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            1 misleading and the FLS was authorized and/or approved by an executive officer of
            2 LPL who knew that the FLS was false. Further, none of the historic or present tense
            3 statements made by Defendants were assumptions underlying or relating to any plan,
            4 projection or statement of future economic performance, as they were not stated to be
            5 such assumptions underlying or relating to any projection or statement of future
            6 economic performance when made.
            7                         CLASS ACTION ALLEGATIONS
            8        167. Plaintiff brings this action as a class action pursuant to Rule 23 of the
            9 Federal Rules of Civil Procedure on behalf of all persons who purchased LPL
       10 common stock during the Class Period (the “Class”). Excluded from the Class are
       11 Defendants and their families, the officers and directors of the Company, at all
       12 relevant times, members of their immediate families and their legal representatives,
       13 heirs, successors or assigns, and any entity in which Defendants have or had a
       14 controlling interest.
       15            168. The members of the Class are so numerous that joinder of all members is
       16 impracticable. LPL stock is actively traded on the NASDAQ and there are nearly 89
       17 million shares of LPL common stock outstanding. While the exact number of Class
       18 members is unknown to Plaintiff at this time and can only be ascertained through
       19 appropriate discovery, Plaintiff believes that there are hundreds of members in the
       20 proposed Class. Record owners and other members of the Class may be identified
       21 from records maintained by LPL or its transfer agent and may be notified of the
       22 pendency of this action by mail, using the form of notice similar to that customarily
       23 used in securities class actions.
       24            169. Common questions of law and fact predominate and include: (i) whether
       25 Defendants violated the 1934 Act; (ii) whether Defendants omitted and/or
       26 misrepresented material facts; (iii) whether Defendants knew or recklessly disregarded
       27 that their statements were false; and (iv) whether Defendants’ statements and/or
       28

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            1 omissions artificially inflated the price of LPL common stock and the extent and
            2 appropriate measure of damages.
            3        170. Plaintiff’s claims are typical of the claims of the members of the Class as
            4 all members of the Class are similarly affected by Defendants’ wrongful conduct in
            5 violation of federal law that is complained of herein.
            6        171. Plaintiff will fairly and adequately protect the interests of the members of
            7 the Class and has retained counsel competent and experienced in class and securities
            8 litigation.
            9        172. A class action is superior to all other available methods for the fair and
       10 efficient adjudication of this controversy since joinder of all members is
       11 impracticable. Furthermore, as the damages suffered by individual Class members
       12 may be relatively small, the expense and burden of individual litigation make it
       13 impossible for members of the Class to individually redress the wrongs done to them.
       14 There will be no difficulty in the management of this action as a class action.
       15                                           COUNT I
       16                   For Violation of §10(b) of the 1934 Act and Rule 10b-5
       17                                  Against All Defendants
       18            173. Plaintiff incorporates all allegations in ¶¶1-172 above by reference.
       19            174. During the Class Period, Defendants disseminated or approved the false
       20 statements specified above, which they knew or recklessly disregarded were
       21 misleading in that they contained misrepresentations and failed to disclose material
       22 facts necessary in order to make the statements made, in light of the circumstances
       23 under which they were made, not misleading.
       24            175. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:
       25                   (a)   Employed devices, schemes and artifices to defraud;
       26                   (b)   Made untrue statements of material facts or omitted to state
       27 material facts necessary in order to make the statements made, in light of the
       28 circumstances under which they were made, not misleading; or

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            1               (c)    Engaged in acts, practices, and a course of business that operated
            2 as a fraud or deceit upon Plaintiff and others similarly situated in connection with their
            3 purchases of LPL common stock during the Class Period.
            4         176. Plaintiff and the Class have suffered damages in that, in reliance on the
            5 integrity of the market, they paid artificially inflated prices for LPL common stock.
            6 Plaintiff and the Class would not have purchased LPL common stock at the prices
            7 they paid, or at all, if they had been aware that the market price had been artificially
            8 and falsely inflated by Defendants’ misleading statements.
            9         177. As a direct and proximate result of Defendants’ wrongful conduct,
       10 Plaintiff and the other members of the Class suffered damages in connection with their
       11 purchases of LPL common stock during the Class Period.
       12                                            COUNT II
       13                            For Violation of §20(a) of the 1934 Act
       14                                   Against All Defendants
       15             178. Plaintiff incorporates all allegations in ¶¶1-177 above by reference.
       16             179. The Individual Defendants acted as controlling persons of LPL within the
       17 meaning of §20(a) of the 1934 Act. By virtue of their positions with the Company,
       18 and ownership of LPL common stock, the Individual Defendants had the power and
       19 authority to cause LPL to engage in the wrongful conduct complained of herein.
       20             180. LPL controlled the Individual Defendants and all of its employees.
       21             181. By reason of such conduct, Defendants are liable pursuant to §20(a) of
       22 the 1934 Act.
       23                                    PRAYER FOR RELIEF
       24             WHEREFORE, Plaintiff prays for judgment as follows:
       25             A.    Determining that this action is a proper class action, and certifying
       26 Plaintiff as a class representative under Rule 23 of the Federal Rules of Civil
       27 Procedure and Plaintiff’s counsel as Class Counsel;
       28             B.    Awarding damages and interest;

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            1        C.    Awarding Plaintiff’s reasonable costs, including attorneys’ fees; and
            2        D.    Awarding such equitable/injunctive or other relief as the Court may deem
            3 just and proper.
            4                                   JURY DEMAND
            5        Plaintiff demands a trial by jury.
            6 DATED: October 2, 2017                       ROBBINS GELLER RUDMAN
                                                            & DOWD LLP
            7                                              JONAH H. GOLDSTEIN
                                                           SUSAN G. TAYLOR
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       10                                                            s/ Jonah H. Goldstein
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            1                             CERTIFICATE OF SERVICE
            2        I hereby certify that on October 2, 2017, I authorized the electronic filing of the
            3 foregoing with the Clerk of the Court using the CM/ECF system which will send
            4 notification of such filing to the e-mail addresses denoted on the attached Electronic
            5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
            6 document or paper via the United States Postal Service to the non-CM/ECF
            7 participants indicated on the attached Manual Notice List.
            8        I certify under penalty of perjury under the laws of the United States of America
            9 that the foregoing is true and correct. Executed on October 2, 2017.
       10                                                   s/ Jonah H. Goldstein
                                                            JONAH H. GOLDSTEIN
       11
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Mailing Information for a Case 3:16-cv-00685-BTM-BGS Charter Township of
Clinton Police and Fire Retirement System v. LPL Financial Holdings Inc. et al
Electronic Mail Notice List

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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual
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notices or labels for these recipients.
•   (No manual recipients)




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